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PLAMEX INVESTMENT LLC                        Case 8:21-bk-10958-ES                          Doc 145 Filed 09/13/21 Entered 09/13/21 11:48:37                                                                   Desc
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Current and Inactive tenants

                                                                                                                                                                                       Reserve
                                                                            31 days to 60 61 days to 90    91 days to                                                                Balance as of                           Over 90 days,
     Suite ID              Occupant Name               Amount      30 days      days          days          120 days          120+ days       Current Tenants     Inactive Tenants    12/31/2020          NET Receivable          AR          BD Reserve            Net
BLDG ID: 200PMI
A1A2          Han's Toy                              $  85,514.77 $ 2,590.63 $   2,590.63   $   2,590.63   $   2,590.63   $      75,152.25    $      85,514.77                       $    67,089.70   $         18,425.07    $    77,742.88   $    67,089.70   $    10,653.18
A3            Capital Cap & Embroidery                                                                                                                     -                               7,892.14             (7,892.14)              -           7,892.14        (7,892.14)
A4            Stephanie's Lingerie                       1,882.64         -           -              -              -              1,882.64           1,882.64                                  -                1,882.64          1,882.64              -           1,882.64
A5A6          Pink Melon                                    60.84       30.42         -              -            30.42                 -                60.84                                  -                   60.84             30.42              -              30.42
A7            Cell Mart                                 11,304.21    3,285.06    3,285.06       3,285.06          50.06            1,398.97          11,304.21                                  -               11,304.21          1,449.03              -           1,449.03
A9            Enciso Realty                              5,845.90    1,245.40    1,245.40       1,245.40       1,245.40              864.30           5,845.90                             1,429.50              4,416.40          2,109.70         1,429.50           680.20
B10C10        Primo's Pet Shop                           1,341.79       10.00         -              -              -              1,331.79           1,341.79                             2,321.92               (980.13)         1,331.79         2,321.92          (990.13)
B3C3          Kid's Love                                                                                                                                   -                               2,755.66             (2,755.66)              -           2,755.66        (2,755.66)
B4C4          Marshmallow                                                                                                                                  -                               2,846.51             (2,846.51)              -           2,846.51        (2,846.51)
B6            Rachel's Secrets                           5,764.37    2,882.19    2,882.18            -              -                  -              5,764.37                                                   5,764.37               -                -                -
B7C7          BW Sports & Hobbies                        4,641.76    3,037.67         -              -         1,604.09                -              4,641.76                               624.04              4,017.72          1,604.09           624.04           980.05
B9C9          Sunny Fashion                             12,098.91    1,980.11    1,980.11       1,980.11       1,980.11           4,178.47           12,098.91                             3,134.74              8,964.17          6,158.58         3,134.74         3,023.84
C1            Fancy Jewelry                             18,316.29    3,023.67    3,023.67       3,023.67       3,023.67           6,221.61           18,316.29                                                  18,316.29          9,245.28              -           9,245.28
C5C6          Virginia Jovel                            11,394.77    4,048.43      109.43         109.43         109.43           7,018.05           11,394.77                                                  11,394.77          7,127.48              -           7,127.48
D1            Come Again                                22,747.66    2,506.83    2,506.83       2,506.83       2,506.83          12,720.34           22,747.66                            19,416.22              3,331.44         15,227.17        19,416.22        (4,189.05)
D2            Boom Boom Sounds                          43,978.86    2,850.35    2,850.35       2,850.35       2,850.35          32,577.46           43,978.86                            32,533.41             11,445.45         35,427.81        32,533.41         2,894.40
D3            All City Footwear                          2,345.45      468.69      468.69         468.69         468.69             470.69            2,345.45                                                   2,345.45            939.38              -             939.38
D4            Robert's Fashion                          26,573.01    4,907.20    4,907.20       4,907.20         519.24          11,332.17           26,573.01                             6,468.17             20,104.84         11,851.41         6,468.17         5,383.24
D5E4          Chin Shoes                                18,323.10    4,589.56    4,589.56       4,589.56       4,554.42                -             18,323.10                             7,591.04             10,732.06          4,554.42         7,591.04        (3,036.62)
D6            L' Dorado Jewelry                          7,940.74    2,834.14    2,834.14            -              -             2,272.46            7,940.74                                  -                7,940.74          2,272.46              -           2,272.46
D9            ROB'S MX BASEBALL                          4,482.19         -      1,304.85            -              -             3,177.34            4,482.19                             2,672.22              1,809.97          3,177.34         2,672.22           505.12
E1            Azteca Jewelry                             6,427.15    2,480.36       61.36          61.36          61.36           3,762.71            6,427.15                                                   6,427.15          3,824.07              -           3,824.07
E2            Farmacia Naturista Mexicana                9,128.85    4,628.85         -              -              -             4,500.00            9,128.85                             5,420.78              3,708.07          4,500.00         5,420.78          (920.78)
E3            JUANA E. ROJAS                               (89.84)     (89.84)        -              -              -                  -                (89.84)                                                    (89.84)              -                -                -
E5E6          Kiddie World                              15,541.98    3,128.92    3,128.92       3,128.92       3,128.92           3,026.30           15,541.98                             4,695.85             10,846.13          6,155.22         4,695.85         1,459.37
E8            Inti Arts & Craft                            316.99         -           -              -              -               316.99              316.99                                  -                  316.99            316.99              -             316.99
F1            Lucky Accessories                                                                                                                            -                               9,210.60             (9,210.60)              -           9,210.60        (9,210.60)
F10G11        Mauro Valdez Sandoval                     15,244.15    3,151.18    3,151.18       3,151.18        451.16             5,339.45          15,244.15                             2,087.32             13,156.83          5,790.61         2,087.32         3,703.29
F2            333 Fashion                                1,165.20    1,165.20         -              -             -                    -             1,165.20                             4,498.70             (3,333.50)              -           4,498.70        (4,498.70)
F3G3G4        O Fashion Plus                                                                                                                               -                               5,600.62             (5,600.62)              -           5,600.62        (5,600.62)
F5F6          Joy Sports Wear                           26,302.99    5,445.80    5,445.80       5,445.80       1,268.82           8,696.77           26,302.99                             2,048.01             24,254.98          9,965.59         2,048.01         7,917.58
F7G7          TS Discount                               25,488.58    3,757.22    3,757.22       3,757.22       3,757.22          10,459.70           25,488.58                             8,145.89             17,342.69         14,216.92         8,145.89         6,071.03
F8            Antonio De La Cruz - Ave Beauty Supply     3,913.68    2,346.90         -              -              -             1,566.78            3,913.68                                  -                3,913.68          1,566.78              -           1,566.78
F9            Mauro Valdez Sandoval                      7,070.34    1,856.97    1,856.97            -              -             3,356.40            7,070.34                               425.42              6,644.92          3,356.40           425.42         2,930.98
G5G6          Kiddie World II                           31,468.33    4,006.08    4,006.08       4,006.08       4,006.08          15,444.01           31,468.33                             7,181.36             24,286.97         19,450.09         7,181.36        12,268.73
G8AB          Sport Time                                26,179.27    3,620.48    3,620.48       3,620.48       3,620.48          11,697.35           26,179.27                            12,636.76             13,542.51         15,317.83        12,636.76         2,681.07
H3            Guillermo CamberosPreciado                11,299.35    2,139.35    2,139.35       2,139.35       2,139.35           2,741.95           11,299.35                             9,001.48              2,297.87          4,881.30         9,001.48        (4,120.18)
H7I6          Top Fashion                                                                                                                                  -                               9,055.91             (9,055.91)              -           9,055.91        (9,055.91)
H8            Diana Michel                              32,687.25    1,795.66    1,795.66       1,795.66       1,795.66          25,504.61           32,687.25                            11,931.18             20,756.07         27,300.27        11,931.18        15,369.09
H9            Victoria                                   5,263.76    2,508.56         -              -              -             2,755.20            5,263.76                             1,235.79              4,027.97          2,755.20         1,235.79         1,519.41
I1I2          Pro Sports                                 1,571.68    1,571.68         -              -              -                  -              1,571.68                                                   1,571.68               -                -                -
I5            La Casa De La Novia                       14,541.97    2,042.08    2,042.08       2,042.08       2,042.08           6,373.65           14,541.97                             2,571.64             11,970.33          8,415.73         2,571.64         5,844.09
I7            Lucky Gold                                 5,884.22    2,242.70    2,242.70       1,398.82            -                  -              5,884.22                               248.15              5,636.07               -             248.15          (248.15)
I8            Diz N Dat                                 11,936.35    2,387.27    2,387.27       2,387.27       2,387.27           2,387.27           11,936.35                                                  11,936.35          4,774.54              -           4,774.54
J10           Pescaderia y Cocina El Malecon             3,272.82    3,272.82         -              -              -                  -              3,272.82                            19,656.24            (16,383.42)              -          19,656.24       (19,656.24)
J11           ABIGAIL PACHECO, IRINA ROSSI and NANCY SALAZAR17.66       17.66         -              -              -                  -                 17.66                                                      17.66               -                -                -
J1K2K3        Sung Ryong Lee                             2,760.67      552.17      552.17         552.17         552.17             551.99            2,760.67                                  -                2,760.67          1,104.16              -           1,104.16
J6K7          Street Cellular                                0.90        0.90         -              -              -                  -                  0.90                               160.44               (159.54)              -             160.44          (160.44)
J7J8K8K9      Shoes 4 Less                              51,242.21    4,637.10    4,637.10       4,637.10       4,637.10          32,693.81           51,242.21                            21,745.19             29,497.02         37,330.91        21,745.19        15,585.72
K4            Sweet Stone Jewelry                       (2,711.83)  (2,711.83)        -              -              -                  -             (2,711.83)                                                 (2,711.83)              -                -                -
L1            One Hour Photo                            34,819.89    2,208.22    2,208.22       2,208.22       2,208.22          25,987.01           34,819.89                            14,658.52             20,161.37         28,195.23        14,658.52        13,536.71
L7            Bebe Crafts                               23,263.26    1,473.96    1,473.96       1,473.96       1,473.96          17,367.42           23,263.26                             5,706.00             17,557.26         18,841.38         5,706.00        13,135.38
L8            Lizette M. Cortez                         29,641.99    3,084.27    3,084.27       3,084.27       3,084.27          17,304.91           29,641.99                             7,466.95             22,175.04         20,389.18         7,466.95        12,922.23
L9            Art Nails                                 20,972.53    1,753.59    1,753.59       1,753.59       1,753.59          13,958.17           20,972.53                             5,256.86             15,715.67         15,711.76         5,256.86        10,454.90
M1            MoMo Trading                              57,875.41    5,291.09    5,291.09       5,291.09       5,291.09          36,711.05           57,875.41                            26,947.35             30,928.06         42,002.14        26,947.35        15,054.79
M2            Angel's Bridal                           153,434.75    8,035.20    4,222.60       4,222.60       4,222.60         132,731.75          153,434.75                           122,342.12             31,092.63        136,954.35       122,342.12        14,612.23
M4A           Big Discount                                                                                                                                 -                               3,709.66             (3,709.66)              -           3,709.66        (3,709.66)
M4B           Gloria Flores                              2,628.62    2,628.62         -              -              -                  -              2,628.62                                                   2,628.62               -                -                -
O234          Milbes Men's Wear                         28,142.07    4,355.36    4,355.36       4,355.36       4,355.36          10,720.63           28,142.07                            11,981.78             16,160.29         15,075.99        11,981.78         3,094.21
O5            Happy Land Business                         (833.00)    (833.00)        -              -              -                  -               (833.00)                                                   (833.00)              -                -                -
O6            Luis Fernando Alcantar-Rojo               66,079.21    3,019.44    3,019.44       3,019.44       3,019.44          54,001.45           66,079.21                            30,389.90             35,689.31         57,020.89        30,389.90        26,630.99
P10           Pang Pang Donuts                          23,004.20    1,933.91    1,933.91       1,933.91       1,933.91          15,268.56           23,004.20                            21,568.61              1,435.59         17,202.47        21,568.61        (4,366.14)
P10A          Happy Chinese                             14,934.09    1,909.18    1,909.18       1,909.18       1,909.18           7,297.37           14,934.09                               218.36             14,715.73          9,206.55           218.36         8,988.19

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PLAMEX INVESTMENT LLC                             Case 8:21-bk-10958-ES                          Doc 145 Filed 09/13/21 Entered 09/13/21 11:48:37                                                        Desc
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Current and Inactive tenants

                                                                                                                                                                                      Reserve
                                                                                  31 days to 60 61 days to 90   91 days to                                                          Balance as of                      Over 90 days,
   Suite ID                    Occupant Name           Amount        30 days          days          days         120 days    120+ days      Current Tenants     Inactive Tenants     12/31/2020     NET Receivable          AR         BD Reserve     Net
P10B            TACOTENTO                                3,321.92     2,166.09          100.00           -        1,055.83            -             3,321.92                             2,399.70            922.22        1,055.83       2,399.70   (1,343.87)
P3Q4            Shoes 4 Less                            45,379.28     4,138.03        4,138.03      4,138.03      4,138.03      28,827.16          45,379.28                            14,942.10         30,437.18       32,965.19      14,942.10   18,023.09
P4Q5            El Azul Jewelry                          9,692.25     3,852.66        1,449.58           -             -         4,390.01           9,692.25                                               9,692.25        4,390.01            -      4,390.01
P7P8            Perfecto Nails                          32,099.37     2,728.74        2,728.74      2,728.74      2,728.74      21,184.41          32,099.37                             8,327.25         23,772.12       23,913.15       8,327.25   15,585.90
P9              Twin Scoop Ice Cream                     7,317.61     2,160.06        2,160.06      2,160.06        837.43            -             7,317.61                                  -            7,317.61          837.43            -        837.43
Q1              Lynwood Alteration                         727.26       727.26             -             -             -              -               727.26                               373.68            353.58             -           373.68     (373.68)
Q10             Sun Hye Chung                            7,571.31     1,769.69        1,769.69      1,769.69      1,769.69         492.55           7,571.31                             3,882.54          3,688.77        2,262.24       3,882.54   (1,620.30)
Q7              Libreria Libertadores, LLC              (3,103.13)   (3,103.13)            -             -             -              -            (3,103.13)                                             (3,103.13)            -              -           -
R2R3            Usama Awadallah                         20,068.77     3,224.11        3,224.11      3,224.11      3,224.11       7,172.33          20,068.77                             4,072.33         15,996.44       10,396.44       4,072.33    6,324.11
S123            Ray's Fashion                           47,593.35     4,257.38        4,257.38      4,257.38      4,257.38      30,563.83          47,593.35                            27,372.51         20,220.84       34,821.21      27,372.51    7,448.70
S4T4            Kat's Lingerie                           7,951.26     1,846.58        1,846.58           -          606.27       3,651.83           7,951.26                               534.20          7,417.06        4,258.10         534.20    3,723.90
S6S7            Diana Roman                              4,656.32          -               -             -             -         4,656.32           4,656.32                                               4,656.32        4,656.32            -      4,656.32
T123            99 Cent Store & Up                      16,005.72     3,946.73        3,946.73      3,946.73        297.60       3,867.93          16,005.72                             4,176.25         11,829.47        4,165.53       4,176.25      (10.72)
T7U7            Mr. Hammer Shoes                                                                                                                         -                               2,430.18         (2,430.18)            -         2,430.18   (2,430.18)
VCT01           Hoon Ko                                       -            -               -             -             -              -                  -                               4,250.00         (4,250.00)            -         4,250.00   (4,250.00)
VCT02           Roberto Navarro                          1,500.00       750.00          750.00           -             -              -             1,500.00                                               1,500.00             -              -           -
VCT04           MARIA LUISA ROJO ALVAREZ                 5,700.00     1,250.00        1,200.00           -             -         3,250.00           5,700.00                                               5,700.00        3,250.00            -      3,250.00
VCT08           Leticia Torres                          38,000.00     2,000.00        2,000.00      2,000.00      2,000.00      30,000.00          38,000.00                            14,000.00         24,000.00       32,000.00      14,000.00   18,000.00
VCT09           Art Craft & Religious                   24,000.00     1,500.00        1,500.00      1,500.00      1,500.00      18,000.00          24,000.00                             7,500.00         16,500.00       19,500.00       7,500.00   12,000.00
VCT13           Jesus Garcia-Marcos                      4,400.00       500.00          500.00        500.00        500.00       2,400.00           4,400.00                             2,200.00          2,200.00        2,900.00       2,200.00      700.00
VCT16           La Voz De Chivas                          (500.00)     (500.00)            -             -             -              -              (500.00)                                               (500.00)            -              -           -
VCT26           Cosmetic & Perfume                       2,200.00          -               -             -             -         2,200.00           2,200.00                             2,700.00           (500.00)       2,200.00       2,700.00     (500.00)
VKIO18          Jesus Garcia                            21,373.00     1,300.00        1,300.00      1,300.00      1,300.00      16,173.00          21,373.00                             9,673.00         11,700.00       17,473.00       9,673.00    7,800.00
VKIO23          MARCO ANTONIO JUAREZ CRUZ                  754.00       750.00             -            4.00           -              -               754.00                                                 754.00             -              -           -
VKIO24          Mundo de Artesanias                     16,540.00     1,000.00        1,000.00      1,000.00      1,000.00      12,540.00          16,540.00                             9,540.00          7,000.00       13,540.00       9,540.00    4,000.00
VKIO28          La Voz De Chivas                          (500.00)     (500.00)            -             -             -              -              (500.00)                                               (500.00)            -              -           -
VKIO29          Jesus Garcia                            15,874.16     1,000.00        1,000.00      1,000.00      1,000.00      11,874.16          15,874.16                            8,174.16           7,700.00       12,874.16       8,174.16    4,700.00
VKIOCARO        North American Amusements               24,358.48     1,432.86        1,432.86      1,432.86      1,432.86      18,627.04          24,358.48                            8,829.88          15,528.60       20,059.90       8,829.88   11,230.02
A4              Stephanie's Lingerie                       500.00          -               -             -             -           500.00                                  500.00         500.00                -            500.00         500.00         -
A9              Enciso Realty                           13,736.21          -               -             -             -        13,736.21                               13,736.21      13,736.21                -         13,736.21      13,736.21         -
B5              Ying Zi Xu                                 232.00          -               -             -             -           232.00                                  232.00         232.00                -            232.00         232.00         -
B8              Sung Ryong Lee                           6,332.13          -               -             -             -         6,332.13                                6,332.13       6,332.13                -          6,332.13       6,332.13         -
D7              Joe's Sports Wear                             -            -               -             -             -              -                                       -              -                  -               -              -           -
D8              Kay K Mun (Old)                         15,983.75          -               -             -             -        15,983.75                               15,983.75      15,983.75                -         15,983.75      15,983.75         -
D8              Tack Soo Chang                           5,821.20          -               -             -             -         5,821.20                                5,821.20       5,821.20                -          5,821.20       5,821.20         -
D9              Rosarios y Pulseras Estilo Sinaloa      12,430.80          -               -             -             -        12,430.80                               12,430.80      12,430.80                -         12,430.80      12,430.80         -
E3              Top Fashion                             26,024.10          -               -             -             -        26,024.10                               26,024.10      12,447.13          13,576.97       26,024.10      12,447.13   13,576.97
F10G11          Kitchen & Gift                                -            -               -             -             -              -                                       -              -                  -               -              -           -
F8              B & C Beauty Supply                      2,180.15          -               -             -             -         2,180.15                                2,180.15       2,180.15                -          2,180.15       2,180.15         -
G1              SK Shoes (Old)                           7,149.51          -               -             -             -         7,149.51                                7,149.51       7,149.51                -          7,149.51       7,149.51         -
H1              All Star Wireless                       44,997.07          -               -             -             -        44,997.07                               44,997.07      44,997.07                -         44,997.07      44,997.07         -
H2              Enciso Realty                            3,049.47          -               -          829.07        829.07       1,391.33                                3,049.47         805.35           2,244.12        2,220.40         805.35    1,415.05
H2              Enciso Realty                            5,697.96          -               -             -             -         5,697.96                                5,697.96       5,697.96                -          5,697.96       5,697.96         -
I9H10           Games Anytime                            7,704.92          -               -             -             -         7,704.92                                7,704.92       7,704.92                -          7,704.92       7,704.92         -
J2K3            Han's Toys (old)                              -            -               -             -             -              -                                       -              -                  -               -              -           -
J4K5            Manuel Nieblas Jr. & Elizabeth Adame          -            -               -             -             -              -                                       -              -                  -               -              -           -
J4K5            Elizabeth Adame                          1,952.34          -               -             -             -         1,952.34                                1,952.34       1,952.34                -          1,952.34       1,952.34         -
J4K5            Hangers (old)                              333.33          -               -             -             -           333.33                                  333.33         333.33                -            333.33         333.33         -
L2              Brenda Diaz Perez                       29,425.54          -               -             -             -        29,425.54                               29,425.54      29,425.54                -         29,425.54      29,425.54         -
L2              Express Car Registration                21,090.28          -               -             -             -        21,090.28                               21,090.28      21,090.28                -         21,090.28      21,090.28         -
M3              La Mejor Carniceria Corp.                9,360.98          -               -             -             -         9,360.98                                9,360.98       9,360.98                -          9,360.98       9,360.98         -
O6              Gregorio Juarez & Uriel Juarez           2,911.87          -               -             -             -         2,911.87                                2,911.87       2,911.87                -          2,911.87       2,911.87         -
O8              Soo Yoo (old)                              128.24          -               -             -             -           128.24                                  128.24         128.24                -            128.24         128.24         -
P10B            El Palenque Restaurant                 105,983.91          -               -             -             -       105,983.91                              105,983.91     105,983.91                -        105,983.91     105,983.91         -
P5Q6            Kay K Mun (old)                          3,624.72          -               -             -             -         3,624.72                                3,624.72       3,624.72                -          3,624.72       3,624.72         -
Q8Q9A           La Casa De Los Bautizos                  9,067.76          -               -             -             -         9,067.76                                9,067.76       9,067.76                -          9,067.76       9,067.76         -
R2R3            OK Fashion (old)                        14,346.62          -               -             -             -        14,346.62                               14,346.62      14,346.62                -         14,346.62      14,346.62         -
S10             Norma L Villa Gomez                        475.15          -               -             -             -           475.15                                  475.15         475.15                -            475.15         475.15         -
S6              Sung Ok Hwang (old)                      2,407.17          -               -             -             -         2,407.17                                2,407.17       2,407.17                -          2,407.17       2,407.17         -
S6S7            Jincheng Chen                            4,151.50          -               -             -             -         4,151.50                                4,151.50       4,151.50                -          4,151.50       4,151.50         -
S7              Sung Ok Hwang (old)                      1,087.45          -               -             -             -         1,087.45                                1,087.45       1,087.45                -          1,087.45       1,087.45         -
S8              Express Car Registration                 2,605.05          -               -             -             -         2,605.05                                2,605.05       2,605.05                -          2,605.05       2,605.05         -
T123            99 cent Store                          100,142.09          -               -             -             -       100,142.09                              100,142.09     100,142.09                -        100,142.09     100,142.09         -
T6              Isabel's Children                       26,513.74          -               -             -             -        26,513.74                               26,513.74      26,513.74                -         26,513.74      26,513.74         -

                                                                                                                             Page 2 of 5
PLAMEX INVESTMENT LLC                           Case 8:21-bk-10958-ES                               Doc 145 Filed 09/13/21 Entered 09/13/21 11:48:37                                                           Desc
AR Aging as of 07/31/2021
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Current and Inactive tenants

                                                                                                                                                                                            Reserve
                                                                                    31 days to 60 61 days to 90   91 days to                                                              Balance as of                      Over 90 days,
   Suite ID                    Occupant Name           Amount         30 days           days          days         120 days      120+ days       Current Tenants     Inactive Tenants      12/31/2020     NET Receivable          AR          BD Reserve         Net
T89U8           Gabriel's Fashion                         2,307.58           -              -              -             -           2,307.58                                 2,307.58         2,307.58               -           2,307.58        2,307.58           -
U9              Arcade                                   72,956.54           -              -              -             -          72,956.54                                72,956.54        50,735.39         22,221.15        72,956.54       50,735.39     22,221.15
VCT02           American Media LLC                        6,050.00           -              -              -             -           6,050.00                                 6,050.00         6,050.00               -           6,050.00        6,050.00           -
VCT06           Masud Khan                                1,250.00           -              -              -             -           1,250.00                                 1,250.00         1,250.00               -           1,250.00        1,250.00           -
VCT08           La Jarochita Gift & Art                   8,344.69           -              -              -             -           8,344.69                                 8,344.69         8,344.69               -           8,344.69        8,344.69           -
VCT15           Ernesto Jimenez Figueroa                    522.50           -              -              -             -             522.50                                   522.50           522.50               -             522.50          522.50           -
VCTCHRO         Carrera Consessions                       3,647.00           -              -              -             -           3,647.00                                 3,647.00         5,210.00         (1,563.00)        3,647.00        5,210.00     (1,563.00)
VKIO23          Noe Florentino Nivon                        750.00           -              -              -             -             750.00                                   750.00           750.00               -             750.00          750.00           -
                                        BLDG 200PMI   1,980,701.21    169,301.49     140,957.82     126,722.71    109,109.64     1,434,609.55        1,397,425.89           583,275.32     1,226,752.57        753,948.64     1,543,719.19    1,226,752.57    316,966.62


BLDG ID: 200PML
11201        Jack In The Box #3521                           1.00           1.00             -             -             -                -                  1.00                                  -                 1.00              -               -              -
11215_1      Skechers U.S.A., Inc.                          (0.02)           -               -             -           (0.01)           (0.01)              (0.02)                               (0.01)             (0.01)           (0.02)          (0.01)         (0.01)
11215_3      Yogurtland                                  1,940.06            -               -             -             -           1,940.06            1,940.06                                  -             1,940.06         1,940.06             -         1,940.06
11215_4      Real De Oaxaca                            253,406.67      12,223.84       13,223.84     14,923.22     11,811.05       201,224.72          253,406.67                            99,826.31         153,580.36       213,035.77       99,826.31     113,209.46
11221_A      BUBBLES APPAREL, INC                      359,199.98      22,182.06       22,182.06     22,182.06     15,056.63       277,597.17          359,199.98                           113,212.35         245,987.63       292,653.80      113,212.35     179,441.45
11225_2      Sri Eyebrow Threading and Nails            45,137.13       5,158.47        5,158.47      5,158.47      3,714.45        25,947.27           45,137.13                            12,125.65          33,011.48        29,661.72       12,125.65      17,536.07
11225_3      Shoes 4 Ever                               46,375.12       5,032.08        4,838.54      4,838.54      4,838.54        26,827.42           46,375.12                            14,340.18          32,034.94        31,665.96       14,340.18      17,325.78
11235        Food 4 Less # 324                         (16,289.45)    (16,289.45)            -             -             -                -            (16,289.45)                                             (16,289.45)             -               -              -
11245        Food 4 Less # 324                          31,042.42      31,042.42             -             -             -                -             31,042.42                                               31,042.42              -               -              -
11247        Fashion Qrew                               51,618.00            -               -             -             -          51,618.00           51,618.00                            37,618.16          13,999.84        51,618.00       37,618.16      13,999.84
11255        Taco Bell #5291                           (15,325.22)    (12,220.32)            -             -             -          (3,104.90)         (15,325.22)                                 -           (15,325.22)       (3,104.90)            -        (3,104.90)
11301        PLS Check Cashers                          21,168.64            -               -             -             -          21,168.64           21,168.64                            29,380.37          (8,211.73)       21,168.64       29,380.37      (8,211.73)
11325        Rite Aid Corp. # 05476                    (28,025.79)    (17,561.91)            -             -      (10,450.51)          (13.37)         (28,025.79)                                 -           (28,025.79)      (10,463.88)            -       (10,463.88)
11335        Rainbow Beauty                              4,049.56            -               -             -        2,399.22         1,650.34            4,049.56                                  -             4,049.56         4,049.56             -         4,049.56
11337        TJ Nails Spa                               41,296.09       5,248.40        5,248.40      5,248.40      3,718.44        21,832.45           41,296.09                            12,561.42          28,734.67        25,550.89       12,561.42      12,989.47
11369        Star Buffet Lynwood Inc                                                                                                                          -                             128,719.56        (128,719.56)             -        128,719.56    (128,719.56)
11391        Domino's Pizza                                (436.99)          -               -             -         (436.99)             -               (436.99)                                                (436.99)         (436.99)            -          (436.99)
32_103       DF Wireless                                    333.21        333.21             -             -             -                -                333.21                              4,943.15         (4,609.94)             -          4,943.15      (4,943.15)
32_201       Oficina Jalisco                              3,044.55      3,044.55             -             -             -                -              3,044.55                                                3,044.55              -               -              -
32_202       Casa Colima                                 12,293.42      2,573.69        2,573.69      2,573.69      2,573.69         1,998.66           12,293.42                                               12,293.42         4,572.35             -         4,572.35
CCA6         Chuck-E-Cheese #377                           (462.11)          -               -             -         (461.63)           (0.48)            (462.11)                                                (462.11)         (462.11)            -          (462.11)
11215_2      Nueva Vida Healthcare Center, Inc                 -             -               -             -             -                -                                        -               -                  -                -               -              -
11221_A      G-Stage                                    266,735.08           -               -             -             -         266,735.08                               266,735.08      266,735.08                -         266,735.08      266,735.08            -
11221_B      GRUPO PAKAR LLC                             (2,148.70)          -               -             -       (2,148.70)             -                                  (2,148.70)                         (2,148.70)       (2,148.70)            -        (2,148.70)
11221_B      Pavi Italy                                 143,876.98           -               -             -             -         143,876.98                               143,876.98      143,876.98                -         143,876.98      143,876.98            -
11221_C      Sicrea International, LLC                   (2,894.37)          -               -             -       (2,894.37)             -                                  (2,894.37)                         (2,894.37)       (2,894.37)            -        (2,894.37)
11225_1      Pink & Punk II                              77,279.73           -               -             -             -          77,279.73                                77,279.73       77,279.73                -          77,279.73       77,279.73            -
11225_4      Chung Sik Park                             177,270.35           -               -             -             -         177,270.35                               177,270.35      177,270.35                -         177,270.35      177,270.35            -
11225_4      CASA JALISCO                                17,745.18           -               -             -             -          17,745.18                                17,745.18       17,745.18                -          17,745.18       17,745.18            -
11331        Zermat USA Inc.                             (3,313.21)          -               -             -       (3,313.21)             -                                  (3,313.21)                         (3,313.21)       (3,313.21)            -        (3,313.21)
32_202       Fundacion Comunitaria Oaxaca                14,116.47           -               -             -             -          14,116.47                                14,116.47        14,116.47               -          14,116.47       14,116.47            -
                                       BLDG 200PML    1,499,033.78     40,768.04       53,225.00     54,924.38     24,406.60     1,325,709.76          810,366.27           688,667.51     1,149,750.93        349,282.85     1,350,116.36    1,149,750.93     200,365.43


BLDG ID: 200PMO
A2A          Time Warner Cable                         (27,702.72)    (18,087.62)            -             -        (9,615.10)            -            (27,702.72)                                 -           (27,702.72)      (9,615.10)            -         (9,615.10)
A2C          Pho VNK                                   107,509.07       7,208.49        7,208.49      7,208.49       3,174.85       82,708.75          107,509.07                            91,828.56          15,680.51       85,883.60       91,828.56       (5,944.96)
B11300       Imperial Market                            35,353.56         238.02          784.85           -              -         34,330.69           35,353.56                                  -            35,353.56       34,330.69             -         34,330.69
B11301       Marquez Trading                           118,562.14       8,503.84        8,182.96      8,109.04       5,012.34       88,753.96          118,562.14                           115,678.15           2,883.99       93,766.30      115,678.15      (21,911.85)
B11302       Bionicos La Huerta                          1,516.64       1,516.64             -             -              -               -              1,516.64                                                1,516.64             -               -               -
B11305       Jose Gutierrez Torres                         582.72         582.72             -             -              -               -                582.72                                                  582.72             -               -               -
B11306       BM Classic Portraits                        7,009.59       3,289.84          253.06           -              -          3,466.69            7,009.59                              2,428.15          4,581.44        3,466.69        2,428.15        1,038.54
B11307/9     Jose Gutierrez-Torres                         (81.77)        (81.77)            -             -              -               -                (81.77)                                                 (81.77)            -               -               -
B11310       Tamales                                       478.99         478.99             -             -              -               -                478.99                                                  478.99             -               -               -
B11311       Bionicos La Huerta                            424.56         424.56             -             -              -               -                424.56                                                  424.56             -               -               -
B11312       Delicias Oaxaquenas                        21,254.07       5,086.24        5,074.56      4,837.89       4,953.26        1,302.12           21,254.07                              6,822.84         14,431.23        6,255.38        6,822.84         (567.46)
B11313       Guillermo Reveles - Plaza Flower's #2      (3,496.96)           -         (3,496.96)          -              -               -             (3,496.96)                                              (3,496.96)            -               -               -
B11315       LA Michoacana                              47,712.14       4,269.55        4,269.55      4,269.55       2,917.58       31,985.91           47,712.14                             11,344.96         36,367.18       34,903.49       11,344.96       23,558.53
B11316       Farmacia Natural                             (154.32)       (154.32)            -             -              -               -               (154.32)                                                (154.32)            -               -               -
B11317       Jose L. Gomez                              26,278.74       1,504.65        1,504.65      1,504.65       1,504.65       20,260.14           26,278.74                             21,505.22          4,773.52       21,764.79       21,505.22          259.57
B11323       Aldo's Key Shop                            13,926.46       1,991.01        1,991.01      1,991.01       1,991.01        5,962.42           13,926.46                              5,416.36          8,510.10        7,953.43        5,416.36        2,537.07
B11324       Airbrush Nation                             5,983.41       1,984.67        1,969.34           -          (139.94)       2,169.34            5,983.41                                                5,983.41        2,029.40             -          2,029.40

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PLAMEX INVESTMENT LLC                             Case 8:21-bk-10958-ES                                Doc 145 Filed 09/13/21 Entered 09/13/21 11:48:37                                                           Desc
AR Aging as of 07/31/2021
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Current and Inactive tenants

                                                                                                                                                                                              Reserve
                                                                                       31 days to 60 61 days to 90   91 days to                                                             Balance as of                       Over 90 days,
   Suite ID                    Occupant Name              Amount         30 days           days          days         120 days      120+ days      Current Tenants     Inactive Tenants      12/31/2020      NET Receivable          AR         BD Reserve       Net
B13001          Tortas Ahogadas                             72,166.92      3,122.13        3,122.13      3,122.13       2,083.21       60,717.32          72,166.92                             43,787.02          28,379.90       62,800.53      43,787.02     19,013.51
B13003          Maria Elena Gutierrez Torres                11,797.42      3,932.50             -        7,864.92            -               -            11,797.42                                                11,797.42             -              -             -
B13007          Rinconcito Poblano                         168,253.89      5,145.78        5,223.95      4,981.61       3,434.07      149,468.48         168,253.89                           129,809.62           38,444.27      152,902.55     129,809.62     23,092.93
B13008          Happy Rice                                   3,186.78      3,186.78             -             -              -               -             3,186.78                                (0.00)           3,186.78             -            (0.00)         0.00
B13009          El Pollo Real                               78,972.98      5,624.59        4,027.27      4,027.27       2,723.93       62,569.92          78,972.98                            34,897.90           44,075.08       65,293.85      34,897.90     30,395.95
B21101          Cafe Canela                                  5,678.22      7,836.95             -             -        (2,158.73)            -             5,678.22                                                 5,678.22       (2,158.73)           -       (2,158.73)
B21103          SPACETEL LA INC - Cricket Wireless           4,756.36     (5,074.39)            -             -              -          9,830.75           4,756.36                              1,542.93           3,213.43        9,830.75       1,542.93      8,287.82
B21104          Say Cheese Photo                           148,316.50      8,150.97        8,150.97      8,150.97       5,042.30      118,821.29         148,316.50                             87,663.93          60,652.57      123,863.59      87,663.93     36,199.66
B21107          Pinky's Threading                           59,076.99      3,812.95        3,812.95      3,812.95       2,263.39       45,374.75          59,076.99                             17,626.03          41,450.96       47,638.14      17,626.03     30,012.11
B21108          Elizabeth Adame                                936.69           -               -             -           936.69             -               936.69                                                   936.69          936.69            -          936.69
B21109          Nueva Vision Optical                       159,280.09      5,079.12        5,079.12      5,079.12      3,524.78       140,517.95         159,280.09                           118,820.73           40,459.36       144,042.73    118,820.73     25,222.00
B21110          New Trends Clothing, Inc.                  183,089.29      7,042.59        6,829.75      6,829.75      3,721.08       158,666.12         183,089.29                           138,866.62           44,222.67       162,387.20    138,866.62     23,520.58
B21111          Jose Alan Sandoval                             (31.32)          -            (31.32)          -             -                -               (31.32)                                                  (31.32)             -             -             -
B21202          New Trends Clothing, Inc.                    4,110.00      1,000.00        1,000.00      1,000.00           -           1,110.00           4,110.00                              1,110.00           3,000.00         1,110.00      1,110.00           -
B21203          Mike Kim / T-Mobile                              0.31          0.31             -             -             -                -                 0.31                                                     0.31              -             -             -
B21204          Flor Paredes                                14,907.95      3,126.94        3,126.94      3,126.94      3,126.94         2,400.19          14,907.95                              5,508.89           9,399.06         5,527.13      5,508.89         18.24
B21206          Progreso Financiero                         (3,402.30)    (3,402.30)            -             -             -                -            (3,402.30)                                               (3,402.30)             -             -             -
B31001          Guillermo Reveles & Adan Reveles-Plaza Flowers
                                                             9,852.98      2,308.69        2,308.69      2,075.76           -           3,159.84           9,852.98                               274.24            9,578.74         3,159.84        274.24      2,885.60
B31002          Boost Mobile                                 7,273.86           -               -             -        3,473.65         3,800.21           7,273.86                                                 7,273.86         7,273.86           -        7,273.86
B31004          Dolex Dollar Express, Inc.                  (5,193.67)    (5,193.67)            -             -             -                -            (5,193.67)                                               (5,193.67)             -             -             -
B31005          Arlene's Fashions                           13,079.04      5,032.66          322.75           -             -           7,723.63          13,079.04                              7,082.36           5,996.68         7,723.63      7,082.36        641.27
B31006          La Parisina                                                                                                                                     -                                4,569.53          (4,569.53)             -        4,569.53     (4,569.53)
B31007          Beauty Zone                                 97,847.16     6,699.05         6,699.05      6,699.05      4,076.08        73,673.93          97,847.16                             31,704.13          66,143.03        77,750.01     31,704.13     46,045.88
B31008          MG Colombian Boutique                                                                                                                           -                                3,906.88          (3,906.88)             -        3,906.88     (3,906.88)
B4B102          The Kickin' Crab                            15,517.28    15,517.28              -             -             -                -            15,517.28                                                15,517.28              -             -             -
B4D104          The Children's Place                        82,193.25    16,478.78        17,603.78     17,603.78     17,603.78        12,903.13          82,193.25                             19,382.81          62,810.44        30,506.91     19,382.81     11,124.10
B4E106          SO CAL PF LYNWOOD, LLC-Planet Fitness 352,620.46               -                -       38,121.13           -         314,499.33         352,620.46                             11,289.09         341,331.37       314,499.33     11,289.09    303,210.24
B7100           La Curacao                                  37,962.64          -                -             -             -          37,962.64          37,962.64                                                37,962.64        37,962.64           -       37,962.64
B7101           Don Roberto Jewelers                           475.22       390.22            85.00           -             -                -               475.22                                                   475.22              -             -             -
B7102           GRUPO CONCORDIA LA                          23,814.93     6,849.01         6,849.01        915.25           -           9,201.66          23,814.93                                517.93          23,297.00         9,201.66        517.93      8,683.73
B8100           La Huasteca                              1,120,217.50    35,745.91        35,745.91     35,745.91     14,581.15       998,398.62       1,120,217.50                             783590.14         336,627.36     1,012,979.77    783,590.14    229,389.63
B8101           Perfumes and Hair Products                   6,452.04          -                -             -             -           6,452.04           6,452.04                                 693.38          5,758.66         6,452.04        693.38      5,758.66
B8102           Candle Light Bakery                                                                                                                             -                               14,565.63         (14,565.63)             -       14,565.63    (14,565.63)
B8106           Wedding Chapel                               3,893.32        973.33          973.33        973.33        973.33              -             3,893.32                              3,026.11             867.21           973.33      3,026.11     (2,052.78)
B8107           Professional Documents, Inc.                22,379.82      2,614.02        2,614.02      2,614.02      2,614.02        11,923.74          22,379.82                             18,950.52           3,429.30        14,537.76     18,950.52     (4,412.76)
B8108           Una Mexicana Que Fruta Vendia               56,855.15      5,381.98        3,846.19      3,846.19      2,254.65        41,526.14          56,855.15                             17,414.95          39,440.20        43,780.79     17,414.95     26,365.84
B8109           Hermandad Mexicana Legal Centers             3,372.48      2,523.91          848.57           -             -                -             3,372.48                                                 3,372.48              -             -             -
B8110           Rosy's Beauty Salon                         13,695.80          0.02             -        4,356.51      4,356.51         4,982.76          13,695.80                             14,339.72            (643.92)        9,339.27     14,339.72     (5,000.45)
B8113           Farmers Insurance Agency                     7,321.48      3,344.12        3,344.12        633.24           -                -             7,321.48                                   -             7,321.48              -             -             -
B8201           MEAN CHIX, Inc - Hot Chix                    6,533.86      6,024.16          509.70           -             -                -             6,533.86                              6,872.14            (338.28)             -        6,872.14     (6,872.14)
B8202-1         Dulce Vida                                     525.82        525.82             -             -             -                -               525.82                                                   525.82              -             -             -
B8202-2         FARO OPTOMETRY                              12,592.73      3,839.89        3,647.15      3,666.88      1,438.81              -            12,592.73                              6,300.32           6,292.41         1,438.81      6,300.32     (4,861.51)
B8204           JPL EVENT ENTERPRISE LLC                   114,780.78           -               -        8,269.74     14,091.19        92,419.85         114,780.78                             24,650.06          90,130.72       106,511.04     24,650.06     81,860.98
B8206           Family Acupuncture & Herb Clinic            (4,510.49)    (4,510.49)            -             -             -                -            (4,510.49)                                               (4,510.49)             -             -             -
B8207           Sang Gyu Shin                                  435.26        435.26             -             -             -                -               435.26                                                   435.26              -             -             -
C1258           Ten Raku Korean BBQ                        (22,416.00)   (22,416.00)            -             -             -                -           (22,416.00)                                              (22,416.00)             -             -             -
CCA6            Chuck-E-Cheese #377                            462.12        462.12             -             -             -                -               462.12                                                   462.12              -             -             -
105SIGN         TMC                                        408,579.50           -               -             -             -         408,579.50                              408,579.50      408,579.50                 -         408,579.50    408,579.50           -
105SIGN         iKahan Media, Inc. (old)                     9,965.64           -               -             -             -           9,965.64                                9,965.64        9,965.64                 -           9,965.64      9,965.64           -
A2E             L.A.Care Health Plan                           830.24           -               -             -             -             830.24                                  830.24          830.24                 -             830.24        830.24           -
B11310          Tamales La Gurea Estilo Sinaloa             24,108.22           -               -             -             -          24,108.22                               24,108.22       24,108.22                 -          24,108.22     24,108.22           -
B11311          Bionicos Frutas y Jugos Naturales               38.06           -               -             -             -              38.06                                   38.06           38.06                 -              38.06         38.06           -
B11313          Farmacia Natural                            (1,332.20)          -               -       (1,843.01)          -             510.81                               (1,332.20)         510.81           (1,843.01)          510.81        510.81           -
B11316          Alma De Mexico                              41,517.47           -               -       (2,130.94)          -          43,648.41                               41,517.47       43,648.41           (2,130.94)       43,648.41     43,648.41           -
B11324          PLAZA CAR WASH, LLC                         11,797.11           -               -          480.98           -          11,316.13                               11,797.11       11,316.13              480.98        11,316.13     11,316.13           -
B11324          Ezequiel Juarez Lopez                        3,852.84           -               -             -             -           3,852.84                                3,852.84        3,852.84                 -           3,852.84      3,852.84           -
B11325          Airbrush Nation                             41,667.29           -               -             -             -          41,667.29                               41,667.29       41,667.29                 -          41,667.29     41,667.29           -
B13001          Barbacoa Actopan                             4,599.23           -               -             -             -           4,599.23                                4,599.23        4,599.23                 -           4,599.23      4,599.23           -
B13001          Lamajoon Mediterranean Shish Kabob           9,986.02           -               -             -             -           9,986.02                                9,986.02        9,986.02                 -           9,986.02      9,986.02           -
B13003          YOSHIHARU RAMEN EXPRESS                     (1,811.82)          -               -       (1,811.82)          -                -                                 (1,811.82)                          (1,811.82)             -             -             -
B13003          RYU JOO YEON                                (1,461.00)          -           (500.00)      (961.00)          -                -                                 (1,461.00)                          (1,461.00)             -             -             -
B13003          Ricos Tacos El Tio II, Inc.                 66,317.14           -               -             -             -          66,317.14                               66,317.14        66,317.14                -          66,317.14     66,317.14           -
B21102          Blue Vibes                                     790.00           -               -             -             -             790.00                                  790.00           790.00                -             790.00        790.00           -


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PLAMEX INVESTMENT LLC                                 Case 8:21-bk-10958-ES                                Doc 145 Filed 09/13/21 Entered 09/13/21 11:48:37                                                                       Desc
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Current and Inactive tenants

                                                                                                                                                                                                         Reserve
                                                                                            31 days to 60 61 days to 90   91 days to                                                                   Balance as of                            Over 90 days,
   Suite ID                    Occupant Name                  Amount           30 days          days          days         120 days       120+ days        Current Tenants        Inactive Tenants      12/31/2020           NET Receivable          AR          BD Reserve           Net
B21108          YOUNGEVITY                                       3,632.20            -              -            71.53            -           3,560.67                                     3,632.20         3,560.67                   71.53         3,560.67         3,560.67             -
B21202          Mobile Exclusive T-Mobile                       57,537.35            -              -              -              -          57,537.35                                    57,537.35        57,537.35                     -          57,537.35        57,537.35             -
B21202          Cell Phone T-mobile (old)                       16,019.19            -              -              -              -          16,019.19                                    16,019.19        16,019.19                     -          16,019.19        16,019.19             -
B21204          Flor Paredes                                       219.46            -              -              -              -             219.46                                       219.46           219.46                     -             219.46           219.46             -
B21205          MILICO, LLC                                     18,324.98            -              -              -              -          18,324.98                                    18,324.98        18,324.98                     -          18,324.98        18,324.98             -
B21207/8        Casa de Michocan                                14,115.91            -              -              -         2,339.72        11,776.19                                    14,115.91        18,257.57               (4,141.66)       14,115.91        18,257.57       (4,141.66)
B21210          Lavanderia Burbuja                              (7,016.01)           -              -        (7,016.01)           -                -                                      (7,016.01)                               (7,016.01)             -                -               -
B31000          Pretzeria                                       71,096.63       4,364.75       4,364.75       4,364.75       2,581.00        55,421.38                                    71,096.63        29,112.16               41,984.47        58,002.38        29,112.16       28,890.22
B31001          Abigail Perez                                    1,772.92            -              -              -              -           1,772.92                                     1,772.92         1,772.92                     -           1,772.92         1,772.92             -
B31008          Moxi Shoes                                      13,540.26            -              -              -              -          13,540.26                                    13,540.26        13,540.26                     -          13,540.26        13,540.26             -
B44B            FOOT LOCKER RETAIL, INC                           (241.94)           -              -              -              -            (241.94)                                     (241.94)                                 (241.94)         (241.94)             -           (241.94)
B44B            Viva Movil, LLC                                  4,724.21            -              -              -              -           4,724.21                                     4,724.21         4,724.21                     -           4,724.21         4,724.21             -
B4E106          Metro Fusion, Inc. (Men's Land)                  4,845.62            -              -              -              -           4,845.62                                     4,845.62         4,845.62                     -           4,845.62         4,845.62             -
B4E106          PAVI Inc. (old)                                136,377.47            -              -              -              -         136,377.47                                   136,377.47       136,377.47                     -         136,377.47       136,377.47             -
B4F107          Anna's Linen #004                               74,165.71            -              -              -              -          74,165.71                                    74,165.71        74,165.71                     -          74,165.71        74,165.71             -
B7101           BEECRAZEE INC - Mauya                            1,414.13            -              -              -              -           1,414.13                                     1,414.13         1,414.13                     -           1,414.13         1,414.13             -
B7101           BRANDEN AND CO. JEWELERS                        94,046.86            -              -         1,051.22            -          92,995.64                                    94,046.86        92,995.64                1,051.22        92,995.64        92,995.64             -
B7101           Raul Solis                                       5,500.00            -              -              -              -           5,500.00                                     5,500.00         5,500.00                     -           5,500.00         5,500.00             -
B7102           AIO Wireless                                     2,347.62            -              -              -              -           2,347.62                                     2,347.62         2,347.62                     -           2,347.62         2,347.62             -
B7103           IVETTE BY MITZY                                 (4,694.90)           -              -        (4,694.90)           -                -                                      (4,694.90)                               (4,694.90)             -                -               -
B8101           Miguel Chavarria & Viney Sharm                 123,443.44            -              -              -              -         123,443.44                                   123,443.44       123,443.44                     -         123,443.44       123,443.44             -
B8105           Victoria Casas                                     329.66            -              -              -              -             329.66                                       329.66           329.66                     -             329.66           329.66             -
B8112           Militar's Cut Unisex                                60.99            -              -              -              -              60.99                                        60.99            60.99                     -              60.99            60.99             -
B8201           SNOW FACTORY                                    75,407.62            -              -              -              -          75,407.62                                    75,407.62        75,407.62                     -          75,407.62        75,407.62             -
B8203           Lynwood Medical                                   (579.18)           -              -          (579.18)           -                -                                        (579.18)                                 (579.18)             -                -               -
C1258           COMEX Korean BBQ, LLC                          863,051.14      29,328.51      29,328.51      29,328.51      23,622.28       751,443.33                                   863,051.14       634,719.33              228,331.81       775,065.61       634,719.33      140,346.28
C1258           HomeTown Buffet                                 58,537.33            -              -              -              -          58,537.33                                    58,537.33        58,537.33                     -          58,537.33        58,537.33             -
                                         BLDG 200PMO         5,491,710.32     184,059.76     186,673.80     217,697.21     128,502.48     4,774,777.07         3,244,287.91            2,247,422.41     3,803,210.71            1,688,499.61     4,903,279.55     3,803,210.71    1,100,068.84

                                               Grand Total $ 8,971,445.31    $ 394,129.29   $ 380,856.62   $ 399,344.30   $ 262,018.72   $ 7,535,096.38   $    5,452,080.07   $        3,519,365.24    $ 6,179,714.21    $      2,791,731.10    $7,797,115.10 $6,179,714.21      $1,617,400.89
                                                                                                                                                                                                                                                $1,174,330.21
                Total Aging                                $ 8,971,445.31                                                                                                                                                                       $8,971,445.31
25620-0000      Prepaid Rent per TB, 07/31/21                   97,339.86                                                                                                                                                                           97,339.86
                Tamales-Overstated by $0.30                          0.30                                                                                                                                                                                0.30
                Chuck E Cheese Prepaid Rent                     (2,672.72)                                                                                                                                                                          (2,672.72)
                Top Fashion PPD rent                            (1,000.00)                                                                                                                                                                          (1,000.00)

                Total Adjusted AR, 07/31/21                $ 9,065,112.75
11000-0000      AR Per Trial Balance, 07/31/21             $ 9,065,112.75                                                                                                                               $6,179,714.21                           $9,065,112.75    $6,179,714.21   $2,885,398.54
                Difference                                 $          -
                                                                                                                                                          11110-0000          Allowance for BD         $ 6,179,714.21
                                                                                                                                                                              Difference                         $0.00




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Post BK11 Expenses
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    Invoice      Invoice       Due                                                     Invoice                                                                  Over
   Number         Date         Date        Entity                Reference             Amount            30 Days     31-60 Days   61-90 Days    91-120 Days   120 Days      Total
Vendor:       900GPM Greenland Property Management, LLC
IN202107         7/23/2021 7/23/2021 200PMI         PLX-IN Mgmt Fee 07/21          $    10,679.31 $ 10,679.31                                                            $ 10,679.31
LTC202107        7/23/2021 7/23/2021 200PML         PLX-LTC Mgmt Fee 07/21              11,138.58   11,138.58                                                              11,138.58
OUT202107        7/23/2021 7/23/2021 200PMO PLX-OUT Mgmt Fee 07/21                      17,828.31   17,828.31                                                              17,828.31
07-2021LTC       7/31/2021 7/31/2021 200PML         PLX-LTC Maint Crew 07/21             1,675.80    1,675.80                                                               1,675.80
07-2021OUT       7/31/2021 7/31/2021 200PMO PLX-OUT Maint Crew 07/21                     1,675.80    1,675.80                                                               1,675.80
IN202107.        7/31/2021 7/31/2021 200PMI         PLX-IN Mgmt Fee 07/21-ADJ             (731.42)    (731.42)                                                               (731.42)
LTC202107.       7/31/2021 7/31/2021 200PML         PLX-LTC Mgmt Fee 07/21-ADJ          (6,512.74)  (6,512.74)                                                             (6,512.74)
Vendor:       ABZPESTC ABZ Pest Control
476130            7/9/2021    7/9/2021 200PMO Bird Control 07/21                           91.40             91.40                                                             91.40
476241            7/9/2021    7/9/2021 200PML       Bird Control 07/21                    134.60            134.60                                                            134.60
Vendor:       ATT AT&T
OUT-052021       5/20/2021 5/20/2021 200PMO 764-5420 Signage 5/20-6/19/21                   72.76                                      72.76                                   72.76
OUT-052021       5/20/2021 5/20/2021 200PMO 764-5420 Utility Deposit                       (72.52)                                    (72.52)                                 (72.52)
OUT-052021       5/20/2021 5/20/2021 200PMO 764-5420 Overpaid                             (180.16)                                   (180.16)                                (180.16)
OUT-052021       5/20/2021 5/20/2021 200PMO 764-5420 Signage 4/20-5/19/21                   72.88                                      72.88                                   72.88
5420-062021      6/20/2021 6/20/2021 200PMO 764-5420 Signage 6/20-7/19/21                   74.00                         74.00                                                74.00
Vendor:       BETTERBE Better & Best Building Service Inc
12301.           3/15/2021 3/15/2021 200PMI         Janitorial 03/21 - Rate Incr           391.00                                                               391.00        391.00
12302.           3/15/2021 3/15/2021 200PML         Janitorial 03/21 - Rate Incr           857.00                                                               857.00        857.00
12303.           3/15/2021 3/15/2021 200PMO Janitorial 03/21 - Rate Incr                 2,093.36                                                             2,093.36      2,093.36
12303.           3/15/2021 3/15/2021 200PMI         Janitorial 03/21 - Rate Incr         1,223.64                                                             1,223.64      1,223.64
12310            4/15/2021 4/15/2021 200PMI         Janitorial 04/21-Rate Incr             391.00                                                    391.00                   391.00
12311            4/15/2021 4/15/2021 200PML         Janitorial 04/21-Rate Incr             857.00                                                    857.00                   857.00
12312            4/15/2021 4/15/2021 200PMO Janitorial 04/21-Rate Incr                   2,093.36                                                  2,093.36                 2,093.36
12312            4/15/2021 4/15/2021 200PMI         Janitorial 04/21-Rate Incr           1,223.64                                                  1,223.64                 1,223.64
12319            5/15/2021 5/15/2021 200PMI         Janitorial 05/21-Rate Incr             391.00                                     391.00                                  391.00
12320            5/15/2021 5/15/2021 200PML         Janitorial 05/21-Rate Incr             857.00                                     857.00                                  857.00
12321            5/15/2021 5/15/2021 200PMO Janitorial 05/21-Rate incr                   2,093.36                                   2,093.36                                2,093.36
12321            5/15/2021 5/15/2021 200PMI         Janitorial 05/21-Rate incr           1,223.64                                   1,223.64                                1,223.64
12329            6/15/2021 6/15/2021 200PMI         Janitorial 06/21-Rate Incr             391.00                        391.00                                               391.00
12330            6/15/2021 6/15/2021 200PML         Janitorial 06/21 - Rate Incr           857.00                        857.00                                               857.00
12331            6/15/2021 6/15/2021 200PMO Janitorial 06/21-Rate Incr                   2,093.36                      2,093.36                                             2,093.36

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    Invoice     Invoice         Due                                                 Invoice                                                                  Over
   Number        Date          Date      Entity                 Reference           Amount            30 Days     31-60 Days   61-90 Days    91-120 Days   120 Days    Total
12331           6/15/2021 6/15/2021 200PMI         Janitorial 06/21-Rate Incr         1,223.64                      1,223.64                                           1,223.64
12335           7/15/2021 7/15/2021 200PMI         Arcade 2nd Flr Buffing 07/21         140.00           140.00                                                          140.00
12336           7/15/2021 7/15/2021 200PMI         Janitorial 07/21                   5,083.00         5,083.00                                                        5,083.00
12336           7/15/2021 7/15/2021 200PMI         Janitorial 07/21-Rate Incr           391.00           391.00                                                          391.00
12337           7/15/2021 7/15/2021 200PML         Janitorial 07/21-Rate Incr           857.00           857.00                                                          857.00
12337           7/15/2021 7/15/2021 200PML         Janitorial 07/21                   9,223.00         9,223.00                                                        9,223.00
12337           7/15/2021 7/15/2021 200PML         Sweeping 07/21                     1,312.00         1,312.00                                                        1,312.00
12337           7/15/2021 7/15/2021 200PML         Pressure Wash 07/21                  600.00           600.00                                                          600.00
12338           7/15/2021 7/15/2021 200PMI         Sweeping 07/21                       806.78           806.78                                                          806.78
12338           7/15/2021 7/15/2021 200PMO Sweeping 07/21                             1,380.22         1,380.22                                                        1,380.22
12338           7/15/2021 7/15/2021 200PMI         PressureWash 07/21                   885.36           885.36                                                          885.36
12338           7/15/2021 7/15/2021 200PMO PressureWash 07/21                         1,514.64         1,514.64                                                        1,514.64
12338           7/15/2021 7/15/2021 200PMO Janitorial 07/21                          24,321.96        24,321.96                                                       24,321.96
12338           7/15/2021 7/15/2021 200PMI         Janitorial 07/21                  14,217.04        14,217.04                                                       14,217.04
12338           7/15/2021 7/15/2021 200PMO Janitorial 07/21-Rate Incr                 2,093.36         2,093.36                                                        2,093.36
12338           7/15/2021 7/15/2021 200PMI         Janitorial 07/21-Rate Incr         1,223.64         1,223.64                                                        1,223.64
Vendor:      BROADSIG Broadsign International Inc.
INV-00031041    7/31/2021 7/31/2021 200PMO subscription 7/2021                         431.25            431.25                                                         431.25
Vendor:      CITYOFLY City of Lynwood
3100-060121      6/1/2021 6/15/2021 200PMI         834261000_3100 4/1-5/31/21           466.96                                     466.96                                466.96
3100-060121      6/1/2021 6/15/2021 200PMI         834261000_3100 Utility Deposit      (466.96)                                   (466.96)                              (466.96)
8801-060121      6/1/2021 6/15/2021 200PMI         832228801_3100 4/1-5/31/2021         296.74                                     296.74                                296.74
8801-060121      6/1/2021 6/15/2021 200PMI         832228801_3100 Utility Deposit      (296.74)                                   (296.74)                              (296.74)
LTC-06.01.21     6/1/2021 6/15/2021 200PML         834295000_N6 4/1-5/31/21             172.94                                     172.94                                172.94
LTC-06.01.21     6/1/2021 6/15/2021 200PML         834298000_11225 4/1-5/31/21           95.58                                      95.58                                 95.58
LTC-06.01.21     6/1/2021 6/15/2021 200PML         834297000_11221 4/1-5/31/21          172.94                                     172.94                                172.94
LTC-06.01.21     6/1/2021 6/15/2021 200PML         834320000_11331-37 4/1-5/31/21        95.58                                      95.58                                 95.58
LTC-06.01.21     6/1/2021 6/15/2021 200PML         834330000_11369-91 4/1-5/31/21        95.58                                      95.58                                 95.58
LTC-06.01.21     6/1/2021 6/15/2021 200PML         834296000_11215 4/1-5/31/21           95.58                                      95.58                                 95.58
LTC-06.01.21     6/1/2021 6/15/2021 200PML         834300000_11247 4/1-5/31/21           95.58                                      95.58                                 95.58
LTC-06.01.21     6/1/2021 6/15/2021 200PML         LTC Wtr Fire Utility Deposits       (823.78)                                   (823.78)                              (823.78)
OUT-060121       6/1/2021 6/15/2021 200PMO 834294000 3180 4/1-5/31/21                   296.74                                     296.74                                296.74
OUT-060121       6/1/2021 6/15/2021 200PMO 834292000 3160 4/1-5/31/21                   172.94                                     172.94                                172.94

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Post BK11 Expenses
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    Invoice    Invoice       Due                                                Invoice                                                                Over
   Number        Date        Date       Entity                Reference         Amount            30 Days      31-60 Days   61-90 Days 91-120 Days   120 Days    Total
OUT-060121       6/1/2021 6/15/2021 200PMO 834291000 3150 4/1-5/31/21               172.94                                       172.94                            172.94
OUT-060121       6/1/2021 6/15/2021 200PMO 834294000 3180 Utility Deposit          (296.74)                                     (296.74)                          (296.74)
OUT-060121       6/1/2021 6/15/2021 200PMO 834292000 3160 Utility Deposit          (172.94)                                     (172.94)                          (172.94)
OUT-060121       6/1/2021 6/15/2021 200PMO 834291000 3150 Utility Deposit          (172.94)                                     (172.94)                          (172.94)
11383-070121     7/1/2021 7/15/2021 200PML        142577301_11383 5/1-6/30/21       308.93           308.93                                                        308.93
11383-070121     7/1/2021 7/15/2021 200PML        142577301_11383 5/1-6/30/21      (308.93)         (308.93)                                                      (308.93)
B8206-070121     7/1/2021 7/15/2021 200PMO 142456501_B8206 5/1-6/30/21              493.36           493.36                                                        493.36
B8206-070121     7/1/2021 7/15/2021 200PMO 142456501 Utility Deposit               (542.98)         (542.98)                                                      (542.98)
IR2-070121       7/1/2021   7/1/2021 200PMO 142455000 IR2 5/1-6/30/21               832.21           832.21                                                        832.21
IR2-070121       7/1/2021   7/1/2021 200PMI       142455000 IR2 5/1-6/30/21         486.46           486.46                                                        486.46
IR2-070121       7/1/2021   7/1/2021 200PMO 142455000 IR2 5/1-6/30/21            (1,262.04)       (1,262.04)                                                    (1,262.04)
IR2-070121       7/1/2021   7/1/2021 200PMI       142455000 IR2 5/1-6/30/21        (737.71)         (737.71)                                                      (737.71)
IR4-070121       7/1/2021   7/1/2021 200PML       142571504 IR4 5/1-6/30/21       2,157.82         2,157.82                                                      2,157.82
IR4-070121       7/1/2021   7/1/2021 200PML       142571504 Utility Deposit      (2,239.02)       (2,239.02)                                                    (2,239.02)
LTC-070121       7/1/2021 7/15/2021 200PML        142590000_11221 5/1-6/30/21       318.15           318.15                                                        318.15
LTC-070121       7/1/2021 7/15/2021 200PML        142565000_N6 5/1-6/30/21          479.53           479.53                                                        479.53
LTC-070121       7/1/2021 7/15/2021 200PML        142592000_11225 5/1-6/30/21       391.92           391.92                                                        391.92
LTC-070121       7/1/2021 7/15/2021 200PML        142577003_11391 5/1-6/30/21       401.14           401.14                                                        401.14
LTC-070121       7/1/2021 7/15/2021 200PML        142577003 Utility Deposit        (418.19)         (418.19)                                                      (418.19)
LTC-070121       7/1/2021 7/15/2021 200PML        142592000 Utility Deposit        (398.34)         (398.34)                                                      (398.34)
LTC-070121       7/1/2021 7/15/2021 200PML        142565000 Utility Deposit        (975.77)         (975.77)                                                      (975.77)
LTC-070121       7/1/2021 7/15/2021 200PML        142590000 Utility Deposit        (321.30)         (321.30)                                                      (321.30)
OUT-070121       7/1/2021 7/15/2021 200PMO 142457002_3160 5/1-6/30/21               308.93           308.93                                                        308.93
OUT-070121       7/1/2021 7/15/2021 200PMO 142456700_3150 5/1-6/30/21             1,627.59         1,627.59                                                      1,627.59
OUT-070121       7/1/2021 7/15/2021 200PMO 142456700 Utility Deposit             (1,794.76)       (1,794.76)                                                    (1,794.76)
OUT-070121       7/1/2021 7/15/2021 200PMO 142457002 Utility Deposit               (325.17)         (325.17)                                                      (325.17)
Prod-070121      7/1/2021   7/1/2021 200PMO 142250000 Prod 5/1-6/30/21            1,503.10         1,503.10                                                      1,503.10
Prod-070121      7/1/2021   7/1/2021 200PMO 142250000 Utility Deposit            (1,526.16)       (1,526.16)                                                    (1,526.16)
Vendor:      CONTEMPO Contemporary Information Corp.
551432         7/29/2021 7/29/2021 200PMO AMG - Credit Check                         40.00            40.00                                                        40.00
551432         7/29/2021 7/29/2021 200PMI         Credit Checks (2)                  40.00            40.00                                                        40.00
Vendor:      DEPINDRE Department of Industrial Relations
E1815193MR     7/19/2021 7/19/2021 200PMO 056091 Pass Elev#2 Inspect Fee           225.00            225.00                                                       225.00

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    Invoice       Invoice         Due                                                    Invoice                                                                  Over
    Number         Date           Date       Entity                 Reference            Amount            30 Days      31-60 Days   61-90 Days   91-120 Days   120 Days    Total
E1815195MR        7/19/2021 7/19/2021 200PMO            128162 Ext Esc Inspect Fee           675.00           675.00                                                          675.00
056018-2021       7/23/2021 7/23/2021 200PMI            056018 IN ESC-UP Inspect Fee         675.00           675.00                                                          675.00
056019-2021       7/23/2021 7/23/2021 200PMI            056019 In ESC-DN Inspect Fee         675.00           675.00                                                          675.00
128177-2021       7/23/2021 7/23/2021 200PMO            128177 Pass Elev#1 Inspect Fee       225.00           225.00                                                          225.00
128341-2021       7/23/2021 7/23/2021 200PMO            128341 Cargo Elev Inspect Fee        225.00           225.00                                                          225.00
Vendor:        DIRECTTV DirecTV
DEPOSIT            7/9/2021      7/9/2021 200PMO        046484346 Utility Deposit           (179.99)         (179.99)                                                        (179.99)
Vendor:        EPAXSYST Epax Systems, Inc.
28006              7/1/2021      7/1/2021 200PMO        30YD Trash Comp 07/21               414.00            414.00                                                         414.00
28006              7/1/2021      7/1/2021 200PMI        30YD Trash Comp 07/21               241.99            241.99                                                         241.99
Vendor:        FEDEEXPR Federal Express Corp.
7-445-62778       7/23/2021 7/23/2021 200PMC            Mail to Axos Bank                    21.57             21.57                                                          21.57
Vendor:        FIRSTINS First Insurance Funding Corp.
07.16.21          7/16/2021 7/16/2021 200PMI            PM 20-21 EQ Insurance              2,768.10         2,768.10                                                        2,768.10
07.16.21          7/16/2021 7/16/2021 200PML            PM 20-21 EQ Insurance              5,219.34         5,219.34                                                        5,219.34
07.16.21          7/16/2021 7/16/2021 200PMO            PM 20-21 EQ Insurance              5,289.82         5,289.82                                                        5,289.82
Vendor:        GASCOMPA The Gas Company
07.19.21          7/19/2021      8/6/2021 200PMI        MainBldg 6/15-7/15/21               474.01            474.01                                                         474.01
Vendor:        GTOSECUR GTO Security
PILTC071521       7/15/2021 7/15/2021 200PML            Security 7/1-7/15/21               7,254.00         7,254.00                                                        7,254.00
PIPME071521       7/15/2021 7/15/2021 200PMO            Security 7/1-7/15/21              20,042.47        20,042.47                                                       20,042.47
PIPME071521       7/15/2021 7/15/2021 200PMI            Security 7/1-7/15/21              11,715.53        11,715.53                                                       11,715.53
PILTC073121       7/31/2021 7/31/2021 200PML            Security 7/16-7/31/21              7,488.00         7,488.00                                                        7,488.00
PIPME073121       7/31/2021 7/31/2021 200PMO            Security 7/16-7/31/21             20,672.94        20,672.94                                                       20,672.94
PIPME073121       7/31/2021 7/31/2021 200PMI            Security 7/16-7/31/21             12,084.06        12,084.06                                                       12,084.06
Vendor:        K9FINANC K-9 Financial, LLC
18219              7/1/2021      7/1/2021 200PMO        CV-04 Vertical Compactor 07/21      214.99            214.99                                                         214.99
Vendor:        KIMCONNI Connie Sunmi Kim
Upto07.26.21      7/27/2021 7/27/2021 200PMC            Employee Lunches                    252.15            252.15                                                         252.15
Upto07.26.21      7/27/2021 7/27/2021 200PMC            Health Dept Meeting                  11.55             11.55                                                          11.55
Upto07.26.21      7/27/2021 7/27/2021 200PMC            Health Dept Meeting                  20.00             20.00                                                          20.00
Upto07.26.21      7/27/2021 7/27/2021 200PMC            Coffee & snacks for office           39.94             39.94                                                          39.94
Upto07.26.21      7/27/2021 7/27/2021 200PML            Handicapped Sign for F4L Area        21.85             21.85                                                          21.85

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    Invoice       Invoice        Due                                              Invoice                                                                   Over
   Number          Date          Date       Entity              Reference         Amount            30 Days     31-60 Days     61-90 Days   91-120 Days   120 Days   Total
Upto07.26.21      7/27/2021 7/27/2021 200PMO 30 Keys for Women's RR                    60.00            60.00                                                           60.00
Vendor:        KONE Kone Inc.
959901871          7/1/2021     7/1/2021 200PMO OUT_Pass & Esc 07/21                2,389.69         2,389.69                                                        2,389.69
959901872          7/1/2021     7/1/2021 200PML    N6_Pass Elev 06/21                 464.81           464.81                                                          464.81
959901873          7/1/2021     7/1/2021 200PMI    IN_Pass & Esc 06/21              3,562.05         3,562.05                                                        3,562.05
1158183402        7/21/2021 7/21/2021 200PMI       EmergCall #2 Up Esc 7/4/21       3,309.34         3,309.34                                                        3,309.34
Vendor:        LACTAXCO Los Angeles County Tax Collector
40676005           7/1/2021     7/1/2021 200PMC UnsecP-Tax 21-22 6171-001-054       6,992.50         6,992.50                                                        6,992.50
Vendor:        MUZAK Muzak
56294161           8/1/2021     8/1/2021 200PMI    Mood Media 08/21                  105.90            105.90                                                          105.90
Vendor:        ONETENEL One Ten Electric
101               7/20/2021 7/20/2021 200PMO AC Power Line - B11316                 1,500.00         1,500.00                                                        1,500.00
Vendor:        POINTEXT Point Exterminators Inc
31327              7/7/2021     7/7/2021 200PMO LA Care Pest Control 7/7/21           50.00             50.00                                                           50.00
31328              7/7/2021     7/7/2021 200PML    LTC Pest Control 7/7/21           150.00            150.00                                                          150.00
31329              7/7/2021     7/7/2021 200PMO 3170 Pest Control 7/7/21              50.00             50.00                                                           50.00
31320             7/29/2021 7/29/2021 200PMI       Pest Control 7/29/21              660.00            660.00                                                          660.00
Vendor:        RESCUERO American Residential Services, LLC
8102-501940       7/16/2021 7/16/2021 200PMI       unclog sewer line                 353.10            353.10                                                          353.10
8101-492891       7/30/2021 7/30/2021 200PMO 3170 - Clogged Sewer Line               321.00            321.00                                                          321.00
Vendor:        RODRIGJO Jose Rodriguez
07.30.21          7/30/2021 7/30/2021 200PMO Landscaping 07/21                      1,000.00         1,000.00                                                        1,000.00
07.30.21          7/30/2021 7/30/2021 200PML       Landscaping 07/21                1,000.00         1,000.00                                                        1,000.00
Vendor:        SMARDANS SMARDAN SUPPLY CO.
S3671667.001       5/6/2021     5/6/2021 200PMO Fix sewer line                        19.42                                         19.42                               19.42
Vendor:        SOCALEDI So. Cal. Edison Co.
6984-061621       6/16/2021 6/16/2021 200PML       700432206984 N6 4/12-5/10/21       422.66                         422.66                                             422.66
6984-061621       6/16/2021 6/16/2021 200PML       700432206984 N6 4/12-5/10/21       (23.32)                        (23.32)                                            (23.32)
6984-061621       6/16/2021 6/16/2021 200PML       700432206984 N6 4/12-5/10/21       427.66                         427.66                                             427.66
6984-061621       6/16/2021 6/16/2021 200PML       Utility Deposit Applied         (3,462.70)                     (3,462.70)                                         (3,462.70)
8212-062121       6/21/2021 6/21/2021 200PMO 700611698212 Utility Deposit          (1,558.75)                     (1,558.75)                                         (1,558.75)
12472-062221      6/22/2021 6/22/2021 200PMO P2_3170 5/21-6/21/21                   2,354.04                       2,354.04                                           2,354.04
12472-062221      6/22/2021 6/22/2021 200PMO P1_Imp Sign 5/21-6/21/21               3,278.29                       3,278.29                                           3,278.29

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   Invoice        Invoice      Due                                                  Invoice                                                                   Over
   Number          Date        Date       Entity              Reference             Amount            30 Days     31-60 Days    61-90 Days    91-120 Days   120 Days   Total
12472-062221      6/22/2021 6/22/2021 200PMI       P1_Imp Sign 5/21-6/21/21           1,916.28                      1,916.28                                           1,916.28
1839-072121       7/21/2021 7/21/2021 200PML       700553471839 11217 6/21-7/20/2        45.45            45.45                                                           45.45
8959-072121       7/21/2021 8/10/2021 200PML       700523238959 Park 6/21-7/20/21     1,896.75         1,896.75                                                        1,896.75
Vendor:        SUNPACCO SUN PAC CONTAINERS
3630665            7/1/2021   7/1/2021 200PMO 22' Storage Container 07/21               77.00             77.00                                                          77.00
3630666            7/1/2021   7/1/2021 200PMO 26' Storage Container 07/21               97.00             97.00                                                          97.00
Vendor:        TRICHEMT Tri-Chem Technology, Corp.
68122              7/8/2021   7/8/2021 200PMI      Wtr Treatment Svc 07/21             200.00            200.00                                                         200.00
Vendor:        VERISONW Verizon Wireless
9880378180        5/22/2021 5/22/2021 200PMO PM Billboard 4/23-5/22/21                   60.08                                       60.08                                60.08
9880378180        5/22/2021 5/22/2021 200PMO 742304001-0001 Utility Deposit             (60.08)                                     (60.08)                              (60.08)
9882528060        6/22/2021 6/22/2021 200PMO PM Billboard rfd 6/14-6/22/21              (17.42)                       (17.42)                                            (17.42)
Vendor:        WASTERES Waste Resources, Inc.
0001557039        6/15/2021 6/15/2021 200PMO 020938 3100 6/1-6/14/21                  3,948.60         3,948.60                                                        3,948.60
0001557039        6/15/2021 6/15/2021 200PMI       020938 3100 6/1-6/14/21            2,308.10         2,308.10                                                        2,308.10
0001560184        6/30/2021 6/30/2021 200PMO 020938 3100 6/17-6/28/21                 3,460.13         3,460.13                                                        3,460.13
0001560184        6/30/2021 6/30/2021 200PMI       020938 3100 6/17-6/28/21           2,022.56         2,022.56                                                        2,022.56
0001559643         7/1/2021   7/1/2021 200PML      024758 11337 07/21                   478.40           478.40                                                          478.40
0001559643         7/1/2021   7/1/2021 200PML      024758 11337 07/21                     0.05             0.05                                                            0.05
0001559644         7/1/2021   7/1/2021 200PML      024759 11391 07/21                   478.40           478.40                                                          478.40
0001559644         7/1/2021   7/1/2021 200PML      024759 11391 07/21                     0.05             0.05                                                            0.05
0001559644         7/1/2021   7/1/2021 200PML      024759 11391 Extra 3YD Bins           95.80            95.80                                                           95.80
0001559645         7/1/2021   7/1/2021 200PML      024760 11215 07/21                   538.28           538.28                                                          538.28
0001559645         7/1/2021   7/1/2021 200PML      024760 11215 07/21                     0.04             0.04                                                            0.04
0001559646         7/1/2021   7/1/2021 200PML      024760 11247 07/21                   478.40           478.40                                                          478.40
0001559646         7/1/2021   7/1/2021 200PML      024760 11247 07/21                     0.02             0.02                                                            0.02
0001559647         7/1/2021   7/1/2021 200PML      024760 11301 07/21                   478.40           478.40                                                          478.40
0001559647         7/1/2021   7/1/2021 200PML      024760 11301 07/21                     0.07             0.07                                                            0.07
0001559648         7/1/2021   7/1/2021 200PML      024760 11331 07/21                   478.40           478.40                                                          478.40
0001559648         7/1/2021   7/1/2021 200PML      024760 11331 07/21                     0.07             0.07                                                            0.07
0001560128         7/1/2021   7/1/2021 200PMO 075644 3102 07/21                           2.14             2.14                                                            2.14
0001560128         7/1/2021   7/1/2021 200PMO 075644 3102 07/21                       2,420.72         2,420.72                                                        2,420.72
0001560129         7/1/2021   7/1/2021 200PMO 075645 3170 07/21                       3,201.48         3,201.48                                                        3,201.48

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    Invoice      Invoice      Due                                               Invoice                                                                  Over
   Number         Date        Date         Entity              Reference        Amount            30 Days      31-60 Days   61-90 Days   91-120 Days   120 Days     Total
0001560129        7/1/2021   7/1/2021 200PMO 075645 3170 07/21                        2.14             2.14                                                             2.14
0001560129        7/1/2021   7/1/2021 200PMO 075645 3170 Extra 3YD Bins             383.20           383.20                                                           383.20
0001560130        7/1/2021   7/1/2021 200PMO 075646 3180 07/21                      523.92           523.92                                                           523.92
0001560130        7/1/2021   7/1/2021 200PMO 075646 3180 Extra 4YD Bins             155.68           155.68                                                           155.68
0001560130        7/1/2021   7/1/2021 200PMO 075646 3180 07/21                        0.25             0.25                                                             0.25
Vendor:        WOOSPOOL Woo's Pool Service
07262021         7/26/2021 7/26/2021 200PMO Fountain Cleaning 07/21                 820.43           820.43                                                          820.43
07262021         7/26/2021 7/26/2021 200PMI       Fountain Cleaning 07/21           479.57           479.57                                                          479.57
Vendor:        YOUNGELC Young Electric Sign Company
INY-0298295       7/1/2021   7/1/2021 200PMO P-Lot Lights Maint 07/21               567.99            567.99                                                          567.99
INY-0298295       7/1/2021   7/1/2021 200PMI      P-Lot Lights Maint 07/21          332.01            332.01                                                          332.01
INY-0298315       7/1/2021   7/1/2021 200PMO Imperial Sign Maint 07/21              157.78            157.78                                                          157.78
INY-0298315       7/1/2021   7/1/2021 200PMI      Imperial Sign Maint 07/21          92.22             92.22                                                           92.22
INY-0298331       7/1/2021   7/1/2021 200PML      LB Sign Maint 07/21               250.00            250.00                                                          250.00
INY-0298333       7/1/2021   7/1/2021 200PML      P-Lot Lights Maint 07/21          700.00            700.00                                                          700.00
                                                  Grand Total:                  266,487.99        244,904.87     7,975.74     4,477.38      4,565.00   4,565.00   266,487.99   -


Jesus H. Galindo Invoice from 01/2018                                         $    (450.00)
Adjusted Grand Total:                                                         $ 266,037.99


TB Balance 07/31/2021                                                         $ 266,037.99
Difference                                                                    $        -




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Database:    MDPROPERTIES                                                        Check Register                                                     Page:               1
BANK:        PMDIP-01                                                            M+D Properties                                                     Date:       8/12/2021
                                                                                   Axos Bank                                                        Time:         5:25 PM

                                                                              07/21 Through 07/21

                                      Vendor/Alternate
 Check #     Check Date    Check Pd   Address ID         Vendor Name                                Invoice                       Invoice          Discount        Check
Entity       Reference                 P.O. Number       Account Number    Invoice Number           Date           Due Date       Amount            Amount        Amount


1000         7/14/2021       07/21       MIDLLOAN        Midland Loan Services                                    Hand Check
 200PMC     7/5/21 Waterfall - Senior Loan               81110-0000        07.14.21                 7/14/2021     7/14/2021      406,166.38           0.00    406,166.38

                                                                                                                 Check Total:    406,166.38           0.00    406,166.38

                                                                                                              Axos Bank Total:   406,166.38           0.00    406,166.38


                                                                                                                 Grand Total:    406,166.38           0.00    406,166.38
                             Case 8:21-bk-10958-ES               Doc 145 Filed 09/13/21 Entered 09/13/21 11:48:37                          Desc
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Database:    MDPROPERTIES                                                         Check Register                                                   Page:              1
BANK:        PMDIP-02                                                             M+D Properties                                                   Date:      8/12/2021
                                                                                    Axos Bank                                                      Time:        5:25 PM

                                                                                07/21 Through 07/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount       Amount


294          7/1/2021     07/21      900GPM               Greenland Property Management, LLC
 200PML     PLX-LTC Maint Crew 06/21                      50500-0000        06-2021LTC                6/30/2021    6/30/2021      2,117.12           0.00     2,117.12

                                                                                                                  Check Total:    2,117.12           0.00     2,117.12

295          7/1/2021      07/21       900GPM             Greenland Property Management, LLC
 200PMI     PLX-IN Maint Crew 06/21                       50820-0000        06-2021IN                 6/30/2021    6/30/2021       441.07            0.00      441.07

                                                                                                                  Check Total:     441.07            0.00      441.07

296          7/1/2021     07/21      900GPM               Greenland Property Management, LLC
 200PMO     PLX-OUT Maint Crew 06/21                      50820-0000        06-2021OUT                6/30/2021    6/30/2021        441.07           0.00       441.07
 200PMO     PLX-OUT Maint Crew 06/21                      50500-0000        06-2021OUT                6/30/2021    6/30/2021      2,117.12           0.00     2,117.12

                                                                                                                  Check Total:    2,558.19           0.00     2,558.19

297          7/1/2021     07/21        900GPM             Greenland Property Management, LLC
 200PMI     PLX-IN Mgmt Fee 06/21                         53910-0000        IN202106                  6/30/2021    6/30/2021      9,511.69           0.00     9,511.69

                                                                                                                  Check Total:    9,511.69           0.00     9,511.69

298          7/1/2021    07/21         900GPM             Greenland Property Management, LLC
 200PML     PLX-LTC Mgmt Fee 06/21                        53910-0000        LTC202106                 6/30/2021    6/30/2021      7,905.59           0.00     7,905.59

                                                                                                                  Check Total:    7,905.59           0.00     7,905.59

299          7/1/2021    07/21     900GPM                 Greenland Property Management, LLC
 200PMO     PLX-OUT Mgmt Fee 06/21                        53910-0000        OUT202106                 6/30/2021    6/30/2021     17,272.63           0.00    17,272.63

                                                                                                                  Check Total:   17,272.63           0.00    17,272.63

300          7/1/2021        07/21     ABZPESTC           ABZ Pest Control
 200PML     Bird Control 06/21                            50600-0000         475535                   6/17/2021    6/17/2021       134.60            0.00      134.60

                                                                                                                  Check Total:     134.60            0.00      134.60

301          7/1/2021        07/21     ABZPESTC           ABZ Pest Control
 200PMO     Bird Control 06/21                            50600-0000         475534                   6/1/2021     6/1/2021         91.40            0.00       91.40

                                                                                                                  Check Total:      91.40            0.00       91.40

302          7/1/2021       07/21      ATT                AT&T
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 Check #     Check Date     Check Pd        Address ID         Vendor Name                                  Invoice                    Invoice          Discount       Check
Entity       Reference                       P.O. Number       Account Number     Invoice Number            Date          Due Date     Amount            Amount       Amount


200PMO      609-1154 Elev 5/19-6/18/21                         51650-0000         1154-051921               5/19/2021    5/19/2021        109.26           0.00       109.26
200PMO      609-1154 Elev 6/19-7/18/21                         51650-0000         1154-061921               6/19/2021    6/19/2021        109.26           0.00       109.26
200PMO      609-1154 Elev Utility Deposit                      19170-0091         1154-051921               5/19/2021    5/19/2021       -109.06           0.00      -109.06
200PMO      609-1154 Elev Overpaid                             51650-0000         1154-051921               5/19/2021    5/19/2021       -181.29           0.00      -181.29
200PMO      609-1154 Elev 4/19-5/18/21                         51650-0000         1154-051921               5/19/2021    5/19/2021        109.38           0.00       109.38

                                                                                                                        Check Total:      37.55            0.00       37.55

303          7/1/2021      07/21      ATT                      AT&T
 200PMO     608-0668 Signage 6/20-7/19/21                      53610-0000         0668-062021               6/20/2021    6/20/2021       107.16            0.00      107.16

                                                                                                                        Check Total:     107.16            0.00      107.16

304          7/1/2021     07/21      ATT                       AT&T
 200PML     884-9694 105FWY 6/17-7/16/21                       53610-0000         9694-061721               6/17/2021    7/9/2021        104.43            0.00      104.43

                                                                                                                        Check Total:     104.43            0.00      104.43

305          7/1/2021       07/21        BETTERBE              Better & Best Building Service Inc
 200PMI     2nd Flr Arcade Buffing 06/21                       51010-0000          12328                    6/15/2021    6/15/2021       140.00            0.00      140.00

                                                                                                                        Check Total:     140.00            0.00      140.00

306          7/1/2021        07/21      BETTERBE               Better & Best Building Service Inc
 200PMI     Janitorial 06/21                                   51010-0000          12329                    6/15/2021    6/15/2021      5,083.00           0.00     5,083.00

                                                                                                                        Check Total:    5,083.00           0.00     5,083.00

308          7/1/2021        07/21      BETTERBE               Better & Best Building Service Inc
 200PMO     Janitorial 06/21                                   51010-0000          12331                    6/15/2021    6/15/2021     24,321.96           0.00    24,321.96
 200PMI     Janitorial 06/21                                   51010-0000          12331                    6/15/2021    6/15/2021     14,217.04           0.00    14,217.04
 200PMI     Sweeping 06/21                                     50400-0000          12331                    6/15/2021    6/15/2021        806.78           0.00       806.78
 200PMO     Sweeping 06/21                                     50400-0000          12331                    6/15/2021    6/15/2021      1,380.22           0.00     1,380.22
 200PMI     PressureWash 06/21                                 50410-0000          12331                    6/15/2021    6/15/2021        885.36           0.00       885.36
 200PMO     PressureWash 06/21                                 50410-0000          12331                    6/15/2021    6/15/2021      1,514.64           0.00     1,514.64

                                                                                                                        Check Total:   43,126.00           0.00    43,126.00

309          7/1/2021     07/21         EPAXSYST               Epax Systems, Inc.
 200PMO     30YD Trash Comp 06/21                              52180-0000         27781                     6/1/2021     6/1/2021        414.00            0.00      414.00
 200PMI     30YD Trash Comp 06/21                              52180-0000         27781                     6/1/2021     6/1/2021        241.99            0.00      241.99
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                                                                                                                  Check Total:     655.99            0.00      655.99

310          7/1/2021     07/21        FIRSTINS           First Insurance Funding Corp.
 200PMI     PM 20-21 EQ Insurance                         19310-0000         06.17.21                 6/17/2021    6/17/2021      2,768.10           0.00     2,768.10
 200PML     PM 20-21 EQ Insurance                         19310-0000         06.17.21                 6/17/2021    6/17/2021      5,219.34           0.00     5,219.34
 200PMO     PM 20-21 EQ Insurance                         19310-0000         06.17.21                 6/17/2021    6/17/2021      5,289.82           0.00     5,289.82

                                                                                                                  Check Total:   13,277.26           0.00    13,277.26

311          7/1/2021         07/21    GASCOMPA           The Gas Company
 200PMI     MainBldg 4/15-5/14/21                         52140-0000      05.18.21                    5/18/2021    5/18/2021        464.94           0.00       464.94
 200PMI     MainBldg 5/14-6/15/21                         52140-0000      06.17.21                    6/17/2021    7/8/2021         537.62           0.00       537.62
 200PMI     Utility Deposit applied                       19170-0020      05.18.21                    5/18/2021    5/18/2021       -600.00           0.00      -600.00

                                                                                                                  Check Total:     402.56            0.00      402.56

312          7/1/2021        07/21     GTOSECUR           GTO Security
 200PMO     Security 6/1-6/15/21                          50110-0000         PILTC061521              6/15/2021    6/15/2021      6,660.00           0.00     6,660.00

                                                                                                                  Check Total:    6,660.00           0.00     6,660.00

313          7/1/2021        07/21     GTOSECUR           GTO Security
 200PMO     Security 6/1-6/15/21                          50110-0000         PIPME061521              6/15/2021    6/15/2021     18,375.42           0.00    18,375.42
 200PMI     Security 6/1-6/15/21                          50110-0000         PIPME061521              6/15/2021    6/15/2021     10,741.08           0.00    10,741.08

                                                                                                                  Check Total:   29,116.50           0.00    29,116.50

314          7/1/2021       07/21      K9FINANC           K-9 Financial, LLC
 200PMO     CV-04 Vertical Compactor 06/21                52180-0000         18151                    6/1/2021     6/1/2021        214.99            0.00      214.99

                                                                                                                  Check Total:     214.99            0.00      214.99

315           7/1/2021     07/21       KONE               Kone Inc.
 200PMI     IN_Pass & Esc 06/21                           51550-0000         959876161                6/1/2021     6/1/2021         464.81           0.00       464.81
 200PMI     IN_Pass & Esc 06/21                           51550-0000         959876161.               6/1/2021     6/1/2021       3,097.24           0.00     3,097.24
 200PMO     OUT_Pass & Esc 06/21                          51550-0000         959876159                6/1/2021     6/1/2021       2,389.69           0.00     2,389.69

                                                                                                                  Check Total:    5,951.74           0.00     5,951.74

316          7/1/2021      07/21       KONE               Kone Inc.
 200PML     N6_Pass Elev 06/21                            51550-0000         959876160                6/1/2021     6/1/2021        464.81            0.00      464.81
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                                                                                                                 Check Total:            464.81            0.00     464.81

317          7/1/2021     07/21         MUZAK              Muzak
 200PMI     Mood Media 07/21                               50750-0000       56232617                 7/1/2021     7/1/2021               105.90            0.00     105.90

                                                                                                                 Check Total:            105.90            0.00     105.90

318          7/1/2021     07/21       SPECTRIO             Spectrio
 200PMI     Message on Hold 7/1-9/30/21                    51670-0000       1219209                  7/1/2021     7/1/2021               314.82            0.00     314.82

                                                                                                                 Check Total:            314.82            0.00     314.82

319          7/1/2021       07/21       SUNPACCO           SUN PAC CONTAINERS
 200PMO     22' Storage Container 06/21                    72530-0000     3627419                    6/1/2021     6/1/2021                77.00            0.00      77.00
 200PMO     26' Storage Container 06/21                    72530-0000     3627420                    6/1/2021     6/1/2021                97.00            0.00      97.00

                                                                                                                 Check Total:            174.00            0.00     174.00

320          7/1/2021        07/21      WASTERES           Waste Resources, Inc.                                  Unused - Continued Check
 200PML     Carried to 321                                 52180-0000        00015211337             6/1/2021     6/1/2021                 0.00            0.00        0.00

                                                                                                                 Check Total:              0.00            0.00        0.00

321          7/1/2021     07/21         WASTERES           Waste Resources, Inc.
 200PML     024758 11337 06/21                             52180-0000        00015211337             6/1/2021     6/1/2021               478.40            0.00     478.40
 200PML     024759 11391 06/21                             52180-0000        0001521138              6/1/2021     6/1/2021               574.20            0.00     574.20
 200PML     024760 11247 06/21                             52180-0000        0001521140              6/1/2021     6/1/2021               478.40            0.00     478.40
 200PML     024760 11215 06/21                             52180-0000        0001521139              6/1/2021     6/1/2021               538.28            0.00     538.28
 200PML     024760 11331 06/21                             52180-0000        0001521142              6/1/2021     6/1/2021               478.40            0.00     478.40
 200PML     024760 11331 06/21                             52180-0000        0001521142              6/1/2021     6/1/2021                 0.69            0.00       0.69
 200PML     024760 11215 06/21                             73400-0000        0001521139              6/1/2021     6/1/2021                 0.60            0.00       0.60
 200PML     024760 11247 06/21                             73400-0000        0001521140              6/1/2021     6/1/2021                 0.58            0.00       0.58
 200PML     024759 11391 06/21                             73400-0000        0001521138              6/1/2021     6/1/2021                 0.62            0.00       0.62
 200PML     024758 11337 06/21                             73400-0000        00015211337             6/1/2021     6/1/2021                 0.62            0.00       0.62
 200PML     024760 11301 06/21                             52180-0000        0001521141              6/1/2021     6/1/2021               478.40            0.00     478.40
 200PML     024760 11301 06/21                             52180-0000        0001521141              6/1/2021     6/1/2021                 0.69            0.00       0.69

                                                                                                                 Check Total:          3,029.88            0.00    3,029.88

322          7/1/2021      07/21        WASTERES           Waste Resources, Inc.
 200PMO     020938 3100 5/1-5/15/21                        52180-0000        0001518518              5/15/2021    5/15/2021            3,999.26            0.00    3,999.26
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200PMI      020938 3100 5/1-5/15/21                        52180-0000        0001518518               5/15/2021    5/15/2021     2,337.70            0.00    2,337.70

                                                                                                                  Check Total:   6,336.96            0.00    6,336.96

323          7/1/2021      07/21        WASTERES           Waste Resources, Inc.
 200PMO     020938 3100 5/17-5/29/21                       52180-0000        0001520690               5/31/2021    5/31/2021     3,311.06            0.00    3,311.06
 200PMI     020938 3100 5/17-5/29/21                       52180-0000        0001520690               5/31/2021    5/31/2021     1,935.43            0.00    1,935.43

                                                                                                                  Check Total:   5,246.49            0.00    5,246.49

324          7/1/2021      07/21        WASTERES           Waste Resources, Inc.
 200PMO     075644 3102 06/21                              52180-0000        0001521626               6/1/2021     6/1/2021      2,420.72            0.00    2,420.72

                                                                                                                  Check Total:   2,420.72            0.00    2,420.72

325          7/1/2021      07/21      WASTERES             Waste Resources, Inc.
 200PMO     075645 3170 06/21                              52180-0000        0001521627               6/1/2021     6/1/2021      3,201.48            0.00    3,201.48
 200PMO     075645 3170 Extra 3YD Bins                     52180-0000        0001521627               6/1/2021     6/1/2021        191.60            0.00      191.60

                                                                                                                  Check Total:   3,393.08            0.00    3,393.08

326          7/1/2021      07/21      WASTERES             Waste Resources, Inc.
 200PMO     075646 3180 06/21                              52180-0000        0001521628               6/1/2021     6/1/2021       523.92             0.00     523.92
 200PMO     075646 3180 Extra 3YD Bins                     52180-0000        0001521628               6/1/2021     6/1/2021       215.56             0.00     215.56

                                                                                                                  Check Total:    739.48             0.00     739.48

327          7/1/2021       07/21       YOUNGELC           Young Electric Sign Company
 200PML     P-Lot Lights Maint 06/21                       50210-0000         INY-0293195             6/1/2021     6/1/2021       700.00             0.00     700.00

                                                                                                                  Check Total:    700.00             0.00     700.00

328          7/1/2021       07/21       YOUNGELC           Young Electric Sign Company
 200PMO     Imperial Sign Maint 06/21                      50700-0000         INY-0293207             6/1/2021     6/1/2021       157.78             0.00     157.78
 200PMI     Imperial Sign Maint 06/21                      50700-0000         INY-0293207             6/1/2021     6/1/2021        92.22             0.00      92.22

                                                                                                                  Check Total:    250.00             0.00     250.00

329          7/1/2021       07/21       YOUNGELC           Young Electric Sign Company
 200PMO     P-Lot Lights Maint 06/21                       50210-0000         INY-0293277             6/1/2021     6/1/2021       567.99             0.00     567.99
 200PMI     P-Lot Lights Maint 06/21                       50210-0000         INY-0293277             6/1/2021     6/1/2021       332.01             0.00     332.01
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                                                                                                                   Check Total:     900.00            0.00      900.00

330          7/1/2021       07/21      YOUNGELC           Young Electric Sign Company
 200PML     LB Sign Maint 06/21                           50700-0000         INY-0293302               6/1/2021     6/1/2021        250.00            0.00      250.00

                                                                                                                   Check Total:     250.00            0.00      250.00

331          7/1/2021      07/21       CONTEMPO           Contemporary Information Corp.
 200PMO     PM Credit Checks                              73400-0000        550130                     6/29/2021    6/29/2021        40.00            0.00       40.00
 200PMI     Dong Lee Credit checks                        73400-0000        550130                     6/29/2021    6/29/2021        40.00            0.00       40.00

                                                                                                                   Check Total:      80.00            0.00       80.00

332          7/1/2021        07/21     BETTERBE           Better & Best Building Service Inc
 200PML     Janitorial 06/21                              51010-0000          12330                    6/15/2021    6/15/2021      9,223.00           0.00     9,223.00
 200PML     PressureWash 06/21                            50410-0000          12330                    6/15/2021    6/15/2021        600.00           0.00       600.00
 200PML     Sweeping 06/21                                50400-0000          12330                    6/15/2021    6/15/2021      1,312.00           0.00     1,312.00

                                                                                                                   Check Total:   11,135.00           0.00    11,135.00

333          7/1/2021      07/21       TRICHEMT           Tri-Chem Technology, Corp.
 200PMI     Wtr Treatment Svc 06/21                       51600-0000       67945                       6/4/2021     6/4/2021        200.00            0.00      200.00

                                                                                                                   Check Total:     200.00            0.00      200.00

334          7/6/2021      07/21      CTCORPOR            CT Corporation
 200PMC     Plamex Reg Agt Svc8/1-7/31/22                 78950-0030         500642623100              7/1/2021     7/1/2021        244.53            0.00      244.53

                                                                                                                   Check Total:     244.53            0.00      244.53

335          7/6/2021        07/21   GALINDOJ             Jesus H. Galindo
 200PMO     Rem Grease frm Main Trap                      51660-0000         0106130                   6/8/2021     6/8/2021        450.00            0.00      450.00
 200PMO     Fix water leak B8107                          51630-0000         0106131                   6/16/2021    6/16/2021       420.00            0.00      420.00
 200PMO     Clean Main Lines - RR                         51620-0000         0106133                   6/29/2021    6/29/2021       150.00            0.00      150.00

                                                                                                                   Check Total:    1,020.00           0.00     1,020.00

336          7/6/2021      07/21       KONE               Kone Inc.
 200PMO     EmergCall 6/8/21 #3 UP Esc                    51560-0000         1158165279                6/17/2021    6/17/2021      2,706.99           0.00     2,706.99
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                                                                                                                  Check Total:   2,706.99            0.00    2,706.99

337           7/6/2021       07/21      REGENFSS          Regency Fire & Security Services
 200PML     Issues w/ Sprinkler devices                   51720-0000        13147                     6/14/2021    6/14/2021      395.00             0.00     395.00
 200PMI     3100 Fire Monitor Q3'2021                     51640-0000        2213551                   7/1/2021     7/1/2021       135.00             0.00     135.00
 200PMI     3100 GSM Svc Q3'2021                          51650-0000        2213551                   7/1/2021     7/1/2021        75.00             0.00      75.00

                                                                                                                  Check Total:    605.00             0.00     605.00

338          7/6/2021       07/21      REGENFSS           Regency Fire & Security Services
 200PML     LTC Fire Monitor Q3'2021                      51640-0000        2213552                   7/1/2021     7/1/2021       810.00             0.00     810.00
 200PML     LTC GSM Svc Q3'2021                           51650-0000        2213552                   7/1/2021     7/1/2021       450.00             0.00     450.00

                                                                                                                  Check Total:   1,260.00            0.00    1,260.00

339          7/6/2021      07/21       REGENFSS           Regency Fire & Security Services
 200PMO     OUT Fire Monitor Q3'2021                      51650-0000        2213553                   7/1/2021     7/1/2021       405.00             0.00     405.00
 200PMO     OUT GSM Svc Q3'2021                           51650-0000        2213553                   7/1/2021     7/1/2021       225.00             0.00     225.00

                                                                                                                  Check Total:    630.00             0.00     630.00

340          7/6/2021      07/21       RODRIGJO           Jose Rodriguez
 200PMO     Landscaping 06/21                             50500-0000        06.30.21                  6/30/2021    6/30/2021     1,000.00            0.00    1,000.00
 200PML     Landscaping 06/21                             50500-0000        06.30.21                  6/30/2021    6/30/2021     1,000.00            0.00    1,000.00

                                                                                                                  Check Total:   2,000.00            0.00    2,000.00

341          7/6/2021     07/21      SOCALEDI             So. Cal. Edison Co.
 200PMO     700128787954 1210 5/20-6/20/21                72710-0010          87954-062121            6/21/2021    6/21/2021      124.37             0.00     124.37

                                                                                                                  Check Total:    124.37             0.00     124.37

342          7/6/2021     07/21       SOCALEDI            So. Cal. Edison Co.
 200PML     700616416048 11247 5/20-6/20/2                52120-0000          LTC-062121              6/21/2021    6/21/2021       619.92            0.00      619.92
 200PML     700551674006 11369 5/20-6/20/2                52120-0000          LTC-062121              6/21/2021    6/21/2021       122.16            0.00      122.16
 200PML     700243254119 11225 5/20-6/20/2                52120-0000          LTC-062121              6/21/2021    6/21/2021       249.94            0.00      249.94
 200PML     700523189045 11329 5/20-6/20/2                52120-0000          LTC-062121              6/21/2021    6/21/2021        92.26            0.00       92.26
 200PML     700553471839 11217 5/20-6/20/2                52120-0000          LTC-062121              6/21/2021    6/21/2021        86.63            0.00       86.63
 200PML     700093978593 11221 5/20-6/20/2                52120-0000          LTC-062121              6/21/2021    6/21/2021       447.20            0.00      447.20
 200PML     700523238959 Park 5/20-6/20/2                 52100-0000          LTC-062121              6/21/2021    6/21/2021     1,845.66            0.00    1,845.66
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 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount      Amount



                                                                                                                  Check Total:   3,463.77            0.00    3,463.77

343          7/6/2021     07/21       SOCALEDI            So. Cal. Edison Co.
 200PMO     700359290771 3150 5/20-6/20/21                52120-0000          OUT-062121              6/21/2021    6/21/2021     1,281.33            0.00    1,281.33
 200PMO     700378722703 3160 5/20-6/20/21                52120-0000          OUT-062121              6/21/2021    6/21/2021       167.05            0.00      167.05
 200PMO     700440651846 3180 5/20-6/20/21                52120-0000          OUT-062121              6/21/2021    6/21/2021       438.57            0.00      438.57
 200PMO     700262683219 Prod 5/20-6/20/21                72710-0010          OUT-062121              6/21/2021    6/21/2021     6,590.53            0.00    6,590.53

                                                                                                                  Check Total:   8,477.48            0.00    8,477.48

344          7/6/2021     07/21      SOCALEDI             So. Cal. Edison Co.
 200PMO     700611698212 #201 5/20-6/20/21                72710-0010          98212-062121            6/21/2021    6/21/2021     2,100.81            0.00    2,100.81
 200PMO     700611698212 #200 5/20-6/20/21                72710-0010          98212-062121            6/21/2021    6/21/2021       924.76            0.00      924.76
 200PMO     700611698212 #203 5/20-6/20/21                72710-0010          98212-062121            6/21/2021    6/21/2021       353.32            0.00      353.32

                                                                                                                  Check Total:   3,378.89            0.00    3,378.89

345          7/12/2021     07/21       ATT                AT&T
 200PML     639-0184 3200 7/7-8/3/21                      51650-0000        0184-070421               7/4/2021     7/27/2021       322.60            0.00      322.60

                                                                                                                  Check Total:     322.60            0.00      322.60

346          7/12/2021      07/21      ATT                AT&T
 200PMC     PM Internet 7/5-8/4/21                        72340-0000        07.04.21                  7/4/2021     7/25/2021        42.80            0.00       42.80

                                                                                                                  Check Total:      42.80            0.00       42.80

347          7/12/2021    07/21       ATT                 AT&T
 200PMO     632-3606 105Fwy 6/26-7/25/21                  53610-0000        3606-062621               6/26/2021    7/19/2021       113.93            0.00      113.93

                                                                                                                  Check Total:     113.93            0.00      113.93

348          7/12/2021       07/21     BROADSIG           Broadsign International Inc.
 200PMO     subscription 6/2021                           50930-0000         INV-00030423             6/30/2021    6/30/2021       431.25            0.00      431.25

                                                                                                                  Check Total:     431.25            0.00      431.25

349          7/12/2021      07/21     CITYOFLY            City of Lynwood
 200PMI     142450003_3100 5/1-6/30/21                    52150-0000        3100-070121               7/1/2021     7/15/2021      8,188.71           0.00     8,188.71
 200PMI     142450003 Utility Deposit                     19170-0050        3100-070121               7/1/2021     7/15/2021     -6,806.74           0.00    -6,806.74
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Entity       Reference                P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount      Amount



                                                                                                                Check Total:   1,381.97            0.00    1,381.97

350          7/12/2021     07/21      CITYOFLY          City of Lynwood
 200PMO     142451000 IR3 5/1-6/30/21                   52160-0000         IR3-070121               7/1/2021     7/15/2021        766.48           0.00       766.48
 200PML     142451000 IR3 5/1-6/30/21                   52160-0000         IR3-070121               7/1/2021     7/15/2021      1,245.27           0.00     1,245.27
 200PMO     142451000 IR3 5/1-6/30/21                   19170-0050         IR3-070121               7/1/2021     7/15/2021       -623.28           0.00      -623.28
 200PML     142451000 IR3 5/1-6/30/21                   19170-0050         IR3-070121               7/1/2021     7/15/2021     -1,012.62           0.00    -1,012.62

                                                                                                                Check Total:     375.85            0.00      375.85

351          7/12/2021      07/21     CITYOFLY          City of Lynwood
 200PML     142595000_11247 5/1-6/30/21                 52150-0000         LTC-070121               7/1/2021     7/15/2021       341.21            0.00      341.21
 200PML     142571004_11205 5/1-6/30/21                 52150-0000         LTC-070121               7/1/2021     7/15/2021       650.12            0.00      650.12
 200PML     142576003_11331 5/1-6/30/21                 52150-0000         LTC-070121               7/1/2021     7/15/2021       461.08            0.00      461.08
 200PML     142576003 Utility Deposit                   19170-0050         LTC-070121               7/1/2021     7/15/2021      -401.80            0.00     -401.80
 200PML     142571004 Utility Deposit                   19170-0050         LTC-070121               7/1/2021     7/15/2021      -401.14            0.00     -401.14
 200PML     142595000 Utility Deposit                   19170-0050         LTC-070121               7/1/2021     7/15/2021      -339.93            0.00     -339.93

                                                                                                                Check Total:     309.54            0.00      309.54

352          7/12/2021      07/21     CITYOFLY          City of Lynwood
 200PMO     142459052_3170 5/1-6/30/21                  52150-0000         OUT-070121               7/1/2021     7/15/2021       843.77            0.00      843.77
 200PMO     142459701_3180 5/1-6/30/21                  52150-0000         OUT-070121               7/1/2021     7/15/2021       364.55            0.00      364.55
 200PMO     142459701 Utility Deposit                   19170-0050         OUT-070121               7/1/2021     7/15/2021      -350.72            0.00     -350.72
 200PMO     142459052 Utility Deposit                   19170-0050         OUT-070121               7/1/2021     7/15/2021      -427.67            0.00     -427.67

                                                                                                                Check Total:     429.93            0.00      429.93

353          7/12/2021      07/21    GALINDOJ           Jesus H. Galindo
 200PMO     Unclogged RR-Men's & Women's                51660-0000         0106134                  7/2/2021     7/2/2021        120.00            0.00      120.00
 200PMO     service main grease trap                    51620-0000         0106134                  7/2/2021     7/2/2021        375.00            0.00      375.00

                                                                                                                Check Total:     495.00            0.00      495.00

354          7/12/2021       07/21     GTOSECUR         GTO Security
 200PML     Security 5/16-5/31/21                       50110-0000         PILTC053121.             5/31/2021    5/31/2021      7,326.00           0.00     7,326.00
 200PML     Security 5/16-5/31/21 PAID                  50110-0000         PILTC053121.             5/31/2021    5/31/2021     -7,104.00           0.00    -7,104.00

                                                                                                                Check Total:     222.00            0.00      222.00

355          7/12/2021    07/21      GTOSECUR           GTO Security
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200PML      Security 6/16-6/30/21                         50110-0000        PILTC063021               6/30/2021    6/30/2021      6,660.00           0.00     6,660.00

                                                                                                                  Check Total:    6,660.00           0.00     6,660.00

356          7/12/2021       07/21     GTOSECUR           GTO Security
 200PMO     Security 6/16-6/30/21                         50110-0000        PIPME063021               6/30/2021    6/30/2021     18,278.86           0.00    18,278.86
 200PMI     Security 6/16-6/30/21                         50110-0000        PIPME063021               6/30/2021    6/30/2021     10,684.64           0.00    10,684.64

                                                                                                                  Check Total:   28,963.50           0.00    28,963.50

357          7/12/2021      07/21      POINTEXT           Point Exterminators Inc
 200PMI     Pest Control 6/30/21                          50600-0000         30731                    6/30/2021    6/30/2021       660.00            0.00      660.00

                                                                                                                  Check Total:     660.00            0.00      660.00

358          7/12/2021      07/21      WOOSPOOL           Woo's Pool Service
 200PMO     Fountain Cleaning 06/21                       50620-0000         06222021                 6/22/2021    6/22/2021       820.43            0.00      820.43
 200PMI     Fountain Cleaning 06/21                       50620-0000         06222021                 6/22/2021    6/22/2021       479.57            0.00      479.57

                                                                                                                  Check Total:    1,300.00           0.00     1,300.00

359          7/12/2021      07/21     REGENFSS            Regency Fire & Security Services
 200PMI     3100 Fire Monitor Q2'2021                     51640-0000        2212542.                  4/1/2021     4/1/2021        135.00            0.00      135.00
 200PMI     3100 GSM Svc Q2'2021                          51650-0000        2212542.                  4/1/2021     4/1/2021         75.00            0.00       75.00

                                                                                                                  Check Total:     210.00            0.00      210.00

360          7/14/2021   07/21       CITYOFLY             City of Lynwood
 200PMO     142456501_B8206 3/1-4/30/21                   72710-0020        B8206-050121              5/1/2021     5/1/2021        493.36            0.00      493.36

                                                                                                                  Check Total:     493.36            0.00      493.36

361          7/19/2021      07/21         ABMBUILD        ABM Building Solution, LLC
 200PMI     cooling problem-2nd flr is hot                51610-0000        16249456                  6/30/2021    6/30/2021      1,311.00           0.00     1,311.00

                                                                                                                  Check Total:    1,311.00           0.00     1,311.00

362          7/19/2021     07/21      ATT                 AT&T
 200PMO     605-5107 3150 7/10-8/9/21                     51650-0000        5107-071021               7/10/2021    7/10/2021       204.85            0.00      204.85

                                                                                                                  Check Total:     204.85            0.00      204.85
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363          7/19/2021     07/21       ATT                AT&T
 200PMI     631-0048 Elev 7/11-8/10/21                    51650-0000         0048-071121              7/11/2021    7/11/2021      108.98             0.00     108.98

                                                                                                                  Check Total:    108.98             0.00     108.98

364          7/19/2021     07/21       ATT                AT&T
 200PML     604-1580 Signage 7/8-8/7/21                   50700-0000         1580-070821              7/8/2021     7/30/2021      106.91             0.00     106.91

                                                                                                                  Check Total:    106.91             0.00     106.91

365          7/19/2021     07/21     ATT                  AT&T
 200PMC     631-6789 PM 7/11-8/10/21                      72220-0000         6789-071121              7/11/2021    7/11/2021      383.30             0.00     383.30

                                                                                                                  Check Total:    383.30             0.00     383.30

366          7/19/2021      07/21      CARDOREF           CARDOSO REFRIGERACION
 200PMI     Repair AC Unit-Leasing Ofc                    72530-0000    0193690                       6/15/2021    6/15/2021      550.00             0.00     550.00

                                                                                                                  Check Total:    550.00             0.00     550.00

368          7/19/2021        07/21    GALINDOJ           Jesus H. Galindo
 200PMO     unclogged main lines                          51630-0000         0106135                  7/15/2021    7/15/2021      280.00             0.00     280.00
 200PMO     Fix water leak in B31002                      72530-0000         0106136                  7/16/2021    7/16/2021      280.00             0.00     280.00

                                                                                                                  Check Total:    560.00             0.00     560.00

369          7/19/2021        07/21       KIMCONNI        Connie Sunmi Kim
 200PMO     Scissorlift Rental 7/2-7/7/21                 50750-0000       119494                     7/9/2021     7/9/2021       419.79             0.00     419.79

                                                                                                                  Check Total:    419.79             0.00     419.79

370          7/19/2021   07/21      KOOLERAC              Kooler Air Conditioning & Heating
 200PMO     Rep B8102 HVAC-Candlelight                    72530-0000         61593                    7/19/2021    7/19/2021      650.00             0.00     650.00

                                                                                                                  Check Total:    650.00             0.00     650.00

371          7/19/2021     07/21       USTRUST/P01        U.S. Trustees
 200PMC     Q2' 2021 US Trustee Fee                       73621-0000         07.06.21                 7/6/2021     7/6/2021      8,034.00            0.00    8,034.00

                                                                                                                  Check Total:   8,034.00            0.00    8,034.00

372          7/20/2021      07/21      PKIM               Pkim, Inc.
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200PMC      IT Service 4/2021                              74760-0000         PM2104                    7/1/2021     7/1/2021         45.00            0.00      45.00
200PMC      Google Apps-PM Server                          74600-0040         MD210501-4                5/1/2021     5/1/2021         44.50            0.00      44.50
200PMC      Google Apps-PM Server                          74600-0040         MD210601-4                6/1/2021     6/1/2021         44.50            0.00      44.50
200PMC      Google Apps-PM Server                          74600-0040         MD210701-4                7/1/2021     7/1/2021         44.50            0.00      44.50

                                                                                                                    Check Total:    178.50             0.00     178.50

374           7/20/2021     07/21      PKIM                Pkim, Inc.
 200PMO     I-105 Hot Spot 5/1-7/31/21                     50930-0000         MD210715                  7/15/2021    7/15/2021        90.24            0.00      90.24

                                                                                                                    Check Total:      90.24            0.00      90.24

375          7/26/2021     07/21        BRDCSTMU           Broadcast Music, Inc.
 200PMO     2021 Music License                             54380-0040         40615986                  7/2/2021     7/2/2021      1,620.00            0.00    1,620.00

                                                                                                                    Check Total:   1,620.00            0.00    1,620.00

376          7/26/2021       07/21      CHASECAR           Chase Card Services
 200PMO     Yelp MTM                                       53610-0000        DC-D08.2021                7/17/2021    7/17/2021      350.00             0.00     350.00
 200PMO     Cricket-Security Phone                         50110-0000        DC-D08.2021                7/17/2021    7/17/2021       45.00             0.00      45.00

                                                                                                                    Check Total:    395.00             0.00     395.00

377          7/26/2021     07/21        DEPINDRE           Department of Industrial Relations
 200PML     N6 134860 Inspect Fee                          51560-0000        134860-2021                7/2/2021     7/2/2021       225.00             0.00     225.00

                                                                                                                    Check Total:    225.00             0.00     225.00

378          7/26/2021      07/21       FEDEEXPR           Federal Express Corp.
 200PMC     Mail to Axos Bank                              73530-0000        7-438-21100                7/16/2021    7/16/2021        38.86            0.00      38.86

                                                                                                                    Check Total:      38.86            0.00      38.86

379          7/26/2021      07/21       HOMEDEPO           Home Depot Credit Services
 200PMO     Mulch, Potting Mix, Locks                      51120-0000        629380346                  7/19/2021    7/19/2021      106.16             0.00     106.16

                                                                                                                    Check Total:    106.16             0.00     106.16

380          7/26/2021    07/21        PKIM                Pkim, Inc.
 200PMC     Symantec Subscription 2021                     74600-0040         MD210413-3                4/13/2021    4/13/2021      115.20             0.00     115.20
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Entity      Reference                P.O. Number       Account Number   Invoice Number           Date           Due Date       Amount            Amount        Amount



                                                                                                              Check Total:       115.20            0.00        115.20

                                                                                                           Axos Bank Total:   262,071.16           0.00    262,071.16


                                                                                                              Grand Total:    262,071.16           0.00    262,071.16
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Plamex Investment LLC
July 2021 MOR Reporting
Payments to Insiders


                                      Date of   Amount of
               Recipient             Payment     Payment       Account Used   Reason of Payment
Greenland Property Management LLC    7/1/2021      2,117.12   DIP‐Operating   Maint Crew
Greenland Property Management LLC    7/1/2021        441.07   DIP‐Operating   Maint Crew
Greenland Property Management LLC    7/1/2021      2,558.19   DIP‐Operating   Maint Crew
Greenland Property Management LLC    7/1/2021      9,511.69   DIP‐Operating   Management Fee
Greenland Property Management LLC    7/1/2021      7,905.59   DIP‐Operating   Management Fee
Greenland Property Management LLC    7/1/2021     17,272.63   DIP‐Operating   Management Fee
                                                  39,806.29
